Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 1 of 80




       Freedom Watch v. Mueller, et al.
       D.D.C. No. 1:18-cv-00088 (EGS)

                    Exhibit 1
        Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 2 of 80




                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

FREEDOM WATCH, INC.,                   )
                                       )
       Plaintiff,                      )
                                       )
       v.                              )
                                       )
ROBERT S. MUELLER III                  )
Special Counsel                        )
U.S. Department of Justice             )
950 Pennsylvania Ave., N.W., Rm. B-103 )
Washington, D.C. 20530,                )
                                       )
       and                             )              Civ. Action No. 1:18-cv-00088 (EGS)
                                       )
U.S. DEPARTMENT OF JUSTICE             )
950 Pennsylvania Ave., N.W.            )
Washington, D.C. 20530,                )
                                       )
       and                             )
                                       )
FEDERAL BUREAU OF                      )
INVESTIGATION                          )
170 Marcel Drive                       )
Winchester, VA 22602,                  )
                                       )
       Defendants.                     )
____________________________________)

                      DECLARATION OF VANESSA R. BRINKMANN

       I, Vanessa R. Brinkmann, declare the following to be true and correct:

       1.      I am Senior Counsel in the Office of Information Policy (OIP), United States

Department of Justice (“Department” or “DOJ”). In this capacity, I am responsible for

supervising the handling of the Freedom of Information Act (FOIA) requests processed by the

Initial Request Staff (IR Staff) of OIP that are in litigation. The IR Staff of OIP is responsible

for processing FOIA requests seeking records from within OIP and from within six senior

leadership offices of the Department of Justice, specifically the Offices of the Attorney General

                                                  1
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 3 of 80




(OAG), Deputy Attorney General (ODAG), Associate Attorney General (OASG), Legal Policy

(OLP), Legislative Affairs (OLA), and Public Affairs (PAO). As necessary, and as especially

relevant in this case, OIP also processes FOIA requests seeking records from within DOJ’s

Special Counsel’s Office (SCO). The IR Staff determines whether records responsive to FOIA

requests exist and, if so, whether they can be released in accordance with the FOIA. In

processing such requests, the IR Staff consults with personnel in the senior leadership offices and

SCO and, when appropriate, with personnel in the Executive Branch.

       2.      I make the statements herein on the basis of personal knowledge, as well as

information provided to me by others within the Department and/or Executive Branch with

knowledge of the types of records at issue in this case, and on information acquired by me in the

course of performing my official duties.

I.     PLAINTIFF’S FOIA REQUEST AND OIP’S RESPONSES

       3.      By letter submitted via facsimile, dated January 2, 2018, Plaintiff submitted a

FOIA request to OIP seeking records that refer or relate to “communications to and from the

media, domestic and foreign, concerning the activities of Special Counsel Robert Mueller and/or

his staff as well as the Federal Bureau of Investigation, concerning the investigation of alleged

Russian collusion and related matters concerning the Trump Presidential Campaign and the

Trump Transition Team with the print, internet, social media and radio and television networks.”

Plaintiff also requested expedited processing of this FOIA request. A copy of Plaintiff’s FOIA

request, dated January 2, 2018, is attached hereto as Exhibit A.

       4.      On January 15, 2018, Plaintiff filed suit. See Complaint, ECF No. 1.

       5.      By letter dated February 20, 2018, OIP acknowledged Plaintiff’s FOIA request,

assigning it OIP tracking number DOJ–2018-001793 (OIP) and DOJ-2018-002230 (PAO), and



                                                 2
          Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 4 of 80




informed Plaintiff that its request for expedited processing had been granted. In this

acknowledgement letter, OIP further advised Plaintiff that its FOIA request had been placed in

OIP’s expedited processing track. A copy of OIP’s acknowledgement letter, dated February 20,

2018, is attached hereto as Exhibit B.

          6.     By letter dated September 4, 2018, OIP provided an interim response to Plaintiff’s

FOIA request. OIP informed Plaintiff that searches had been conducted on behalf of SCO and

PAO and that 3,441 pages containing records responsive to Plaintiff's request were located.

Pursuant to this response, OIP released to Plaintiff 3,440 pages containing records responsive to

Plaintiff’s request, some with excisions made pursuant to Exemptions 5 and 6 of the FOIA,

5 U.S.C. § 552(b)(5) and (b)(6). Furthermore, OIP withheld in full one page pursuant to

Exemptions 6, (7)(A) and 7(C) of the FOIA, 5 U.S.C. § 552(b)(6), (b)(7)(A) and (b)(7)(C). 1 A

copy of OIP’s September 4, 2018 interim response letter is attached hereto as Exhibit C.

          7.     By letter dated November 1, 2018, OIP provided a final response to Plaintiff’s

request, which, in part, contained records located by OIP as part of a supplemental search which

was conducted subsequent to the remediation of a technical issue previously disclosed to

Plaintiff. Pursuant to this response, OIP provided to Plaintiff 2,440 additional pages containing

records responsive to its request, some with excisions made pursuant to Exemptions 5 and 6 of

the FOIA, 5 U.S.C. § 552(b)(5) and (b)(6). A copy of OIP's final response letter is attached

hereto as Exhibit D.

          8.     Following OIP’s final response to Plaintiff, events occurred pertaining to the

Special Counsel’s investigation such that there no longer existed a basis for the assertion of a

withholding pursuant to Exemption 7(A). On April 8, 2018, OIP released in part one page, with



1
    As indicated in paragraph 8, this page was subsequently released in part.
                                                  3
        Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 5 of 80




excisions made pursuant to Exemptions 6 and 7(C). This page had previously been withheld in

full pursuant to Exemption 7(A), in conjunction with Exemptions 6 and 7(C). In this response,

OIP also provided Plaintiff with revised copies of five pages that had previously contained

inconsistent redactions. OIP’s letter to Plaintiff accompanying its April 8, 2018 response is

attached hereto as Exhibit E.

II.    OIP’S SEARCH FOR RESPONSIVE RECORDS

       A.      OIP’s Standard Search Methods

       9.      OIP processes FOIA requests on behalf of itself, six senior leadership offices

within the Department of Justice, and the Special Counsel's Office. Upon receipt of a FOIA

request, OIP makes determinations both as to the appropriate offices in which to conduct an

initial records search and as to the records repositories and search methods to use in conducting

records searches on behalf of the six senior leadership offices or the Special Counsel's Office.

OIP bases its assessment of where responsive records are likely maintained on a review of the

content of the request itself and the nature of the records sought, as well as OIP’s familiarity with

the types and location of records that each senior leadership office maintains, discussions with

knowledgeable personnel in the senior leadership offices or elsewhere in the Department, and

additional research OIP staff may conduct on the topic of the request to assist with its

assessment.

       10.     In order to ensure a reasonably thorough records search, during the course of

processing any given FOIA request, OIP continually assesses what staff members’ records to

search, both with respect to current and former employees, and whether OIP should use any

supplemental or alternative search methods (such as targeted inquiries to knowledgeable office

staff regarding the existence of records not identified via “keyword” searches) to locate



                                                 4
          Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 6 of 80




potentially responsive records. OIP then initiates such additional searches and methods as

appropriate. OIP’s assessment is based on our review of records located in the initial records

searches, discussions with Department or other Executive Branch personnel, and any other

pertinent factors considered by OIP. In sum, OIP records searches are agile and comprehensive,

and the various search steps employed by OIP work in tandem to achieve a complete records

search.

          11.   When searching the records of office custodians identified as having potentially

responsive material, OIP staff employ any one of a variety of search methods, or a combination

of methods, depending on the nature of the specific request and the type of records systems

implicated. Potentially responsive records may be located in unclassified or classified email

systems, computer hard drives (electronic documents) and/or hard copy (paper) files, and OIP

takes all reasonable steps to locate responsive material across locations.

          12.   As relevant here, when OIP searches unclassified email records and computer

hard drives, OIP uses a sophisticated electronic system that remotely searches through a given

custodian’s entire email collection and hard drive to isolate and locate potentially responsive

records within that collection of electronic records, using search parameters that are provided by

OIP staff. This same system then serves as the review platform by which OIP staff review the

records retrieved using those initial search parameters. This platform allows broad search terms

to be used initially and then for OIP staff to run more targeted, secondary searches within the

gathered universe to identify records responsive to each request. If and when secondary searches

are conducted, the parameters used are based on a variety of factors, including keywords/search

terms and contextual or background information provided in the request letter, topical research

conducted on the request subject, discussions with knowledgeable officials within the



                                                 5
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 7 of 80




Department, and on OIP’s review of the initial search results which allows OIP to identify

common terms and phrasing that is actually employed by records custodians on the topic of the

request. This two-tiered search approach leverages the technological advancements of the

electronic search and review system and, by enabling a broad initial search followed by a

focused secondary search, allows OIP staff to conduct thorough, precise, and informed searches

of unclassified email systems.

       B.       OIP’s Searches Conducted in Response to Plaintiff’s Request

       13.      Upon review of Plaintiff’s request, OIP searched for potentially responsive

records within two Offices: PAO and SCO. Plaintiff’s request specifically sought records from

SCO, and OIP determined that PAO, the office tasked with coordinating relations of DOJ with

the news media, was the only other office reasonably likely to also possess records responsive to

Plaintiff's request. In order to capture all potentially responsive records, OIP conducted broad

searches of unclassified email records and computer hard drives for seventeen custodians across

these Offices (fifteen within PAO and two within SCO). 2

             1. Search of PAO and SCO Email and Hard Drives

       14.      OIP initiated its search efforts for PAO on March 19, 2018, and for SCO on

March 20, 2018. OIP identified fifteen PAO custodians who, based on their positions within

PAO, were reasonably likely to have communicated with the media. Specifically, OIP included




2
  Based on the nature of Plaintiff’s request, which seeks communications only between the
Defendants and the media, see Exhibit A, OIP reasonably limited its search to unclassified
records. Moreover, OIP did not search hard-copy/paper files, as none were identified during the
course of OIP’s search efforts.

                                                 6
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 8 of 80




as custodians those individuals in PAO who held the positions of Director, Deputy Director,

Public Affairs Specialist, Digital Engagement Manager, or Press Assistant. 3

       15.     OIP also identified two custodians within the SCO likely to have responsive

records. Both of these SCO custodians were public affairs professionals responsible for

communications with the media, and both were on detail from other DOJ components—one from

PAO and the other from the United States Attorney’s Office for the Eastern District of Virginia

(EDVA). OIP searched the SCO email accounts of both of these individuals. 4 In addition to

these two records custodians, OIP searched SCO’s general press inquiries mailbox:

Specialcounselpress@usdoj.gov.

       16.     For PAO, the initial search parameters used were the date range of July 1, 2015

through December 31, 2017, based on Plaintiff's own proposed start date and cut-off dates. For

SCO, the initial search parameters included all emails from the date the email accounts were

created through December 31, 2017.

       17.     The search terms that OIP used for both PAO and SCO were as follows: “SCO,”

“OSC,” “Special Counsel,” or “Mueller” combined with the terms “Russia*,” “Trump

Campaign,” “Trump Presidential Campaign,” or “Trump Transition.” These initial searches

gathered a broad set of records from across the entire collection of email and computer files for

the relevant custodians.




3
  OIP determined that individuals in PAO with the positions of Speech Writers, Confidential
Assistants, and Office Managers would not likely communicate with the media and did not
search these individuals’ records.
4
  The PAO detailee’s PAO email account was also searched as part of OIP’s search of PAO, and
OIP confirmed with the EDVA detailee that any SCO-related emails were forwarded to his SCO
account.
                                                 7
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 9 of 80




       18.      After learning of a technical issue affecting the data against which these searches

were run, OIP worked closely with its electronic search support team in the Justice Management

Division’s (JMD) Office of the Chief Information Officer (OCIO) to re-run the above searches.

See Klimavicz Declaration, ECF No. 20-2. With regard to the re-run electronic searches in PAO

and SCO, JMD used the parameters described above for the same custodians. This re-run search

gathered additional records from across the entire collection of email and computer files for the

relevant custodians.

             2. Search of PAO and SCO Text Messages

       19.      During the course of its work, OIP learned that potentially responsive text

message records existed within PAO. OIP initiated its text message search efforts on June 4,

2018. OIP worked with its point of contact in PAO, who conducted a manual review of text

message conversations belonging to the custodians reasonably likely to have potentially

responsive text messages. This entailed reading through the custodian’s text conversations with

those persons they would be reasonably likely to discuss this topic with, including reporters and

other DOJ staff. The PAO point of contact read through each individual text message within

these parameters to assess their responsiveness to Plaintiff’s request. Moreover, the PAO point

of contact also canvassed other PAO staff to inquire whether any of those individuals may have

potentially responsive text messages – all of whom responded in the negative.

       20.      OIP also learned that potentially responsive text message records existed within

SCO. Search efforts for those texts were initiated on May 24, 2018. OIP worked with its points

of contact in SCO, who coordinated a manual review of the text message conversations

belonging to the SCO custodian believed to reasonably be likely to have potentially responsive

text messages. SCO’s primary public affairs official reviewed each of his text messages and



                                                 8
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 10 of 80




located those text messages that were communications with members of the media and

concerned SCO matters. SCO’s back-up public affairs official indicated to OIP that he had not

communicated via text message with any members of the media concerning SCO matters.

       21.     In total, as a result of these email, hard drive, and text message searches, OIP

located a large number of potentially responsive records, and after a manual review of each

record, determined that 3,441 pages contained records responsive to Plaintiff's request. After re-

running the searches as a result of a technical issue, OIP located an additional 2,440 pages

containing records responsive to Plaintiff’s request.

       C.      Summary and Adequacy of OIP’s Records Searches

       22.     In sum, the searches conducted for this request fully reflect the agile, dynamic,

and comprehensive search process OIP conducts in response to FOIA requests. In this case, OIP

conducted an initial search for records that refer or relate to “communications to and from the

media, domestic and foreign, concerning the activities of Special Counsel Robert Mueller and/or

his staff as well as the Federal Bureau of Investigation, concerning the investigation of alleged

Russian collusion and related matters concerning the Trump Presidential Campaign and the

Trump Transition Team with the print, internet, social media and radio and television networks.”

The timeframe of this initial search for documents was July 1, 2015 through December 31, 2017

based on the timeframe provided in Plaintiff's request. The scope of that search included, as

appropriate, searches of the unclassified email and hard drives of seventeen identified officials

(fifteen in PAO and two in SCO), as well as SCO’s general press inquiries mailbox, to locate

records responsive to Plaintiff’s request. When OIP initiated its electronic searches, OIP also

informed each of its client Offices about this FOIA request and requested that its points of

contact in each Office inform OIP of any additional records that may exist and that would



                                                 9
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 11 of 80




otherwise not have been captured by OIP’s search. Upon examination of the initial search

results, OIP determined that text messages potentially responsive to Plaintiff's request might

exist. OIP followed this lead and initiated further discussions with its points of contact in PAO

and SCO, who conducted additional searches for potentially responsive text messages, which

also resulted in additional records being processed and released to Plaintiff.

       23.     Additionally, upon review of the initial search results, OIP located instances of

SCO custodians, other than those included in the initial search, forwarding contacts from the

press to the SCO public affairs professionals whose mailboxes were included in the search. OIP

followed this lead and engaged in additional discussions with SCO. As a result of these

discussions, OIP learned that SCO instituted a procedure whereby all SCO staff were directed to

forward any press inquiries to the two SCO public affairs professionals. This procedure involved

SCO staff forwarding, to the two SCO public affairs professionals, any email they received from

a member of the press, as well as memorializing any telephone inquiries they received in emails

and forwarding them also. Based on these discussions and OIP's review of the initial search

results which confirmed this procedure was being followed, OIP determined that a search of the

two SCO public affairs professionals, as well as the SCO's general press inquiries mailbox, was

reasonable and adequate and no additional searches were needed. Further, OIP routinely

engaged with its client Offices to confirm the results of its searches.

       24.     Upon learning that a technical issue may have affected the searches conducted in

response to this request, OIP had discussions with relevant staff in DOJ as to the scope of the

technical issue, and determined that additional searches were necessary in response to Plaintiff's

request. Through these subsequent electronic searches, supplementary records were located and




                                                 10
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 12 of 80




processed for release to Plaintiff. Further, OIP routinely engaged with its client offices to

confirm the results of its searches.

       25.     Based on my experience with the Department, my familiarity with the records

maintained by the leadership offices, discussions with knowledgeable staff, as well as my

understanding of the scope of Plaintiff’s request, and information gathered from the documents

themselves, I aver that OIP’s searches were reasonably calculated to uncover all potentially

responsive records and that all files likely to contain relevant documents were searched.

III.   EXPLANATION OF WITHHELD MATERIAL

       26.     Of the 5,880 pages OIP has provided to plaintiff, 1,941 pages have been released

in part, with redactions made pursuant to Exemptions 5, 6, and/or 7(C). The remaining 3,939

pages were released to Plaintiff in full, without redactions.

       27.     Attached to this declaration is a Vaughn Index containing detailed descriptions of

the records withheld in part. This Vaughn Index includes the following information for each

record withheld in part: Bates Numbers (corresponding to copies of the records as released to

Plaintiff); Date; Sender/Recipient/Subject; Description of Withheld Material; Exemption(s); and

Pages. OIP’s Vaughn Index is attached hereto as Exhibit F.

       28.     Of the 1,941 pages withheld in part by OIP, one page contains redactions made

pursuant to Exemptions 6 and 7(C) of the FOIA. This page contains an email that consists of

information provided by a member of the news media that the sender believed could be helpful

to the SCO’s investigation. The remaining 1,940 pages withheld in part by OIP contain

redactions made pursuant to Exemptions 5 and/or 6 of the FOIA.

       29.     For clarity of presentation and discussion, OIP has organized the withheld

information into “document categories” which are keyed to the individual records listed on the



                                                 11
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 13 of 80




OIP Vaughn Index. The designated document categories and applicable FOIA

exemptions/privileges for each document category are as follows:

             Documents Released in Part (1,941 pages)

                •   Internal Deliberative Discussions Regarding Press Coverage and Press
                    Inquiries: Exemption 5 (3 pages) [Section A of Vaughn Index]
                •   Internal Deliberative Notes Regarding Press Coverage and Press Inquiries:
                    Exemptions 5 (113 pages) [Section A of Vaughn Index]
                •   Activities and Details of a Purely Personal Nature: Exemption 6 (109 pages)
                    [Section B of Vaughn Index]
                •   Information Identifying Individuals Not Officially Confirmed to be with SCO:
                    Exemption 6 (8 pages) [Section B of Vaughn Index]
                •   Personal information considered by reporter concerning third party that was
                    not reported: Exemption 6 (3 pages) [Section B of Vaughn Index]
                •   Information Identifying and/or about a Third Party or Third Parties:
                    Exemption 6 (10 pages) [Section B of Vaughn Index]
                •   Information concerning prior (pre-SCO) contacts between DOJ officials and
                    reporters: Exemption 6 (3 pages) [Section B of Vaughn Index]
                •   Phone and Email Contact Information and DOJ Employees’ Identities:
                    Exemption 6
                       o Third Party Contact Information (1450 pages) [Section D of Vaughn
                          Index]
                       o DOJ Employee Contact Information and Identities (284 pages)
                         [Section E of Vaughn Index]
                •   Information Provided by a Member of the News Media that Sender Believed
                    Could be Helpful to SCO’s Investigation: Exemptions 6, and 7(C) (1 page)
                    [Section C of Vaughn Index]
                •   Non-responsive Record Markings: (42 pages) [Section F of Vaughn Index]
                •   Duplicative Record Markings: (5 pages) [Section G of Vaughn Index]

The justifications for each of these withholdings are described in detail below.

       A.       Information Withheld in Part Pursuant to Exemption 5

       30.      OIP withheld 116 pages in part pursuant to Exemption 5. All reasonably

segregable, nonexempt information from these records was disclosed to Plaintiff.



                                                12
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 14 of 80




       31.     Exemption 5 of the FOIA exempts from mandatory disclosure “inter-agency or

intra-agency memorandums or letters which would not be available by law to a party other than

an agency in litigation with the agency.” 5 U.S.C. § 552(b)(5). As discussed in detail below, all

of the information withheld by OIP pursuant to Exemption 5 is protected in part pursuant to the

deliberative process privilege.

               1.      Inter-/Intra-Agency Threshold

       32.     In order to withhold records from release pursuant to Exemption 5 of the FOIA,

the records must be inter- or intra-agency records. Here, all information withheld from Plaintiff

pursuant to this exemption consists of communications and “Weekly Press Reports” generated

by, exchanged within, and wholly internal to, the DOJ. As such, they are “inter-/intra-agency”

documents within the threshold of FOIA Exemption 5.

               2.      Deliberative Process Privilege

       33.     OIP has protected information, in part, within the following records categories

pursuant to the deliberative process privilege: (1) “Deliberative Discussions Regarding Press

Coverage and Press Inquiries,” and (2) “Deliberative Notes Regarding Press Coverage and Press

Inquiries.”

       34.     The deliberative process privilege is intended to protect the decision-making

process of government agencies from public scrutiny in order to enhance the quality of agency

decisions. To be protected by the deliberative process privilege, the information at issue must be

both “pre-decisional” and “deliberative.” If pre-decisional, deliberative communications were to

be routinely released to the public, Department employees would be much more cautious in their

discussions with each other and in providing all pertinent information and viewpoints to agency

decision-makers in a timely manner. This lack of candor would seriously impair the



                                                13
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 15 of 80




Department’s ability to foster forthright, internal discussions necessary for efficient and proper

Departmental decision-making.

                      i.       “Deliberative Discussions Regarding Press Coverage”

       35.     The withholdings categorized in OIP’s Vaughn Index as “Deliberative

Discussions Regarding Press Coverage” consist of internal Department emails discussing press

inquiries. This category of records consists of internal email communications from SCO staff to

SCO’s public affairs officials providing press inquiries sent directly to them and noting

preliminary thoughts on if and how the SCO might respond. In each instance, SCO staff are

reacting in real time, sharing their opinions and suggestions for how to the SCO might respond to

particular press inquiries.

       36.     The material withheld in this category of records is pre-decisional because it was

drafted antecedent to the finalization of the Department’s responses to media inquiries and press

interactions discussed therein. All of the information protected within these emails is also

deliberative, because it consists of evaluative discussion and preliminary assessments by

attorneys and other staff regarding matters in which they analyze, make recommendations, give

advice, and work toward formulating strategies for final agency action and response.

                     ii.       “Deliberative Notes Regarding Press Coverage and Press
                               Inquiries”

       37.     The withholdings categorized in OIP’s Vaughn Index as “Deliberative Notes

Regarding Press Coverage and Press Coverage” consist of internal notes of press contacts

maintained by the SCO public affairs officials. This category consists of 113 pages of notes in a

“Weekly Press Report” maintained by SCO’s public affairs officials to document and aid

determinations as to whether and how to address press inquiries. Specifically, this weekly log

consists of a chart with seven columns that documents the following: (1) date of the press


                                                 14
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 16 of 80




inquiry; (2) the media outlet; (3) the name of the reporter; (4) the method of contact; (5) the

subject of the inquiry; (6) research – which documents steps taken in preparation of a response, if

any; and (7) a proposed final response to that inquiry. In separate charts, the reports also

document public statements SCO has made beyond “no comment” and selected publications

SCO public affairs officials identified for the purpose of briefing leadership.

       38.     Certain deliberative information was withheld in part from the “Weekly Press

Report” under Exemption 5 within the “research” and “final response” columns. The

information withheld consists of the public affairs officials’ notes of what steps should be taken

in order to develop a final response, if any. Specifically, within the “final response” column, the

information withheld consists of additional research done and facts regarded as pertinent in

developing a recommended final response. Despite the naming of this column, the information

within it does not consist of final responses to the press inquiries but rather, recommendations

regarding a potential response. Additionally, certain information was redacted in both the

“research” and “final response” columns where it revealed which press inquiries were selected

for briefing and notice to SCO officials and management. Similarly, OIP also redacted selected

stories that were identified by the SCO public affairs officials for briefing SCO staff and

leadership. These deliberative notes attempt to succinctly summarize particular events, identify

important issues, and provide key background information in a concise summary format for ease

of understanding and presentation. The authors review the universe of facts and possible issues

arising on the topic at hand, and then select facts and issues they deem most important for senior

SCO staff review and to provide the necessary background information. The decision to include

or exclude certain factual information located in the course of their research or in preparing a

final response is itself an important part of the deliberative process. Furthermore, the



                                                 15
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 17 of 80




compilation of this factual information, and the exclusion of other factual information, is, in and

of itself, a necessary part of the deliberative and pre-decisional stage.

       39.     The material withheld in this category of records is pre-decisional because it

consists of notes and selected facts concerning certain media inquiries and publications that were

antecedent to determinations made by SCO as to how to respond to the press inquiries or whether

to take any further action that may be necessary. The withheld material is deliberative because it

contains the public affairs official’s research and notes used during the decision-making process

as they work towards finalizing a response to a particular press inquiry.

               3.      Releasing this Withheld in Part Material Would Harm the Deliberative
                       Process

       40.     In sum, the above-listed withheld-in-part records categories pertain to entirely

internal pre-decisional notes and emails among SCO staff. Protected portions of these records

reflect proposed actions provided to the SCO public affairs officials by SCO staff regarding how

to respond to press inquiries, notes on research and steps taken in the SCO’s preparation for

responding to media inquiries, and selected media inquiries and publications flagged for

awareness and determinations on whether any further actions may be necessary.

       41.     Were this type of material to be released, Department employees would become

reticent to document notes of their internal decision-making processes, to share their opinions,

and they would be circumspect in their willingness to engage in internal discussions with other

employees. Disclosure of such preliminary assessments and opinions would make officials

contributing to pre-decisional deliberations much more cautious in providing their views. This

lack of candor would seriously impair the Department’s ability to foster the forthright internal

discussions necessary for efficient and proper decision-making. Certainly, the strength of final

agency decisions would be diminished if the Department could no longer rely on a robust, pre-


                                                  16
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 18 of 80




decisional, and deliberative process where employees feel free to keep notes to assist their

decision-making process and share their preliminary assessments and the selective facts that

contribute to their own unique ideas and perspectives. Agency decision-making is at its best

when employees are able to focus on the substance of their views and not on whether their views

or pre-decisional notes may at some point be made publicly available.

               4.      OIP Released all Reasonably Segregable, Non-Exempt Information

       42.     OIP conducted a thorough, good faith, line-by-line review of the “Weekly Press

Report” and each of the email records it released in part and released all reasonably segregable,

non-exempt information contained within them. Under Exemption 5, OIP withheld from

disclosure only that information which would reveal the Department’s pre-decisional, decision-

making process—specifically, those portions of the emails that would reveal preliminary

thoughts on if and how SCO should respond to media inquiries, as well as those portions of the

“Weekly Press Reports” that were used to brief SCO staff and make determinations on if and

how to react to certain media inquiries and publications.

       43.     OIP’s decision to release other portions of these records, as well as its decision to

release preceding or subsequent email records in full further demonstrates its efforts to segregate

this material. Within these materials, OIP released final press statements and final responses to

press inquiries. OIP released incoming press inquiries and comments, and OIP released

subsequent external conversations with the press. OIP often divided paragraphs to release those

parts that contained non-deliberative, factual information. Additionally, with respect to the

“Weekly Press Report,” OIP segregated for release portions of the “research” column where the

media inquiries concerned reporters asking to be added to SCO’s media list, cancellation of

meeting invites, the correct pronunciation of the name of a publicly confirmed SCO official, and



                                                17
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 19 of 80




how to submit a FOIA request. Finally, OIP released the entire portions of the “Weekly Press

Report” addressing final public statements made by SCO beyond “no comment.”

       B.      Information Withheld Pursuant to Exemption 6

       44.     OIP withheld 1,865 pages in part pursuant to Exemption 6. All reasonably

segregable, nonexempt information from these records were disclosed to Plaintiff.

       45.     FOIA Exemption 6 protects information about individuals in “personnel and

medical files and similar files” when the disclosure of such information “would constitute a

clearly unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(6).

       46.     When determining whether to withhold information pursuant to Exemption 6, OIP

balances the privacy interests of individuals identified in records against any “FOIA public

interest” in disclosure of that information. In making this analysis, the FOIA public interest

considered in the balance is limited to information which would shed light on the Department’s

performance of its mission: to enforce the law and defend the interests of the United States

according to the law; to ensure public safety against threats foreign and domestic; to provide

federal leadership in preventing and controlling crime; to seek just punishment for those guilty of

unlawful behavior; and to ensure fair and impartial administration of justice for all Americans.

               1.      Types of Withheld Material

       47.     OIP withheld the following categories of information pursuant to Exemption 6:

(1) “Activities and Details of a Purely Personal Nature”; (2) “Information Identifying Individuals

Not Officially Confirmed to be with SCO”; (3) “Personal Information Considered by Reporter

Concerning Third Party that was not Reported”; (4) “Information Identifying and/or about a

Third Party or Third Parties”; (5) Third Party Contact Information”; (6) “DOJ Employee Contact

Information and Identities”; and (7) “Information Concerning Prior (pre-SCO) Contacts Between

DOJ Officials and Reporters.” For each of the categories of information withheld pursuant to
                                                18
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 20 of 80




Exemption 6, OIP determined that there were individuals who had a substantial privacy interest

in the information withheld and that there was either no—or at most a de minimis—public

interest that would be served by the release of that information. The analysis for each of the

above-referenced Exemption 6 withholding categories is addressed below.

                       i.      Activities and Details of a Purely Personal Nature

       48.     The withholdings categorized in OIP’s Vaughn Index as “Activities and Details of

a Purely Personal Nature” consists of personal travel plans, religious observances, personal

activities and other purely personal details pertaining to third parties, reporters, or Department

employees not related to their official capacity. Generally, types of information withheld

included vacation details, holiday plans, personal relationships, and other private third-party

information unrelated to any Government function or activity. In assessing the FOIA public

interest in disclosure personal details in documents in this category OIP is unable to identify any

FOIA public interest in disclosure of this information. On the other hand, there is a clear privacy

interest in the details of an individual's personal life. Such details shed no light on the

Government's activities but only on the personal lives of private citizens or citizens who happen

to also work for the Government. This privacy interest, coupled with the lack of any FOIA

public interest, clearly warrants protection of this information pursuant to Exemption 6.

                       ii.     Information Identifying Individuals Not Officially Confirmed to be
                               with SCO

       49.     The withholdings categorized in OIP’s Vaughn Index as “Information Identifying

Individuals Not Officially Confirmed to be with SCO” consists of reporter-supplied speculation

as to the identities of, and information about, individuals not confirmed to be employed by the

SCO. In order to withhold information pursuant to Exemption 6, a balancing of the privacy

interest of the individuals mentioned in these records against any public interest in disclosure


                                                  19
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 21 of 80




must weigh in favor of non-disclosure. The high profile and contentious nature of the work of

the SCO has led to much speculation as to the staffing decisions of the SCO, some of it

inaccurate. On the one hand, disclosure of the identities of SCO employees whose identities are

not public, could seriously prejudice their effectiveness in conducting investigations to which

they are assigned and subject them to unwarranted harassment. On the other hand, if the

individuals inquired about by a reporter do not in fact work for SCO, disclosure of their identities

and other information could still subject them to unwarranted harassment and prejudice their

effectiveness as they are sought out and asked if they were approached by the SCO and, if so,

why they ended up not working for the SCO. Furthermore, releasing the names of these

individuals would not aid the public’s understanding of how the Department carries out its

duties. I have therefore determined that the privacy interests of third parties not officially

confirmed to be with SCO outweigh the public interest in the disclosure of the names of those

individuals.

                       iii.    Information Identifying and/or About a Third Party or Third
                               Parties

       50.     The withholdings categorized in OIP’s Vaughn Index as “Information Identifying

a Third Party or Third Parties” consists of information pertaining to third parties not connected to

the SCO, including images of individuals, third-party (not associated with SCO) political

contributions, personal relationships or connections to Department employees, or reporter-

supplied allegations of a third party’s connections to the SCO's investigations. As noted above,

in order to withhold information pursuant to Exemption 6, a balancing of the privacy interest of

the individuals mentioned in these records against any public interest in disclosure must weigh in

favor of non-disclosure. In these instances, reporters are attempting to parlay their associations

with Department employees or other private citizens as an avenue of access to the SCO, or to


                                                 20
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 22 of 80




speculate as to a third parties' relationship to the SCO's investigations. Given the politically

charged environment surrounding the SCO's work as well as the speculation and scrutiny that

occurs when any new fact or allegation is made public, disclosure of this information relating to

third parties, whose sole public connection to the work of the SCO consists of reporters’

unproven efforts, would certainly subject these individuals to unwarranted harassment. Nor

would this disclosure aid the public’s understanding of how the Department carries out its duties.

I have therefore determined that the privacy interests of these third parties outweigh the public

interest in the disclosure of the names of those employees.

                       iv.     Additional Personal Information Considered by Reporter
                               Concerning Third Party that was Not Reported

       51.     The withholdings categorized in OIP’s Vaughn Index as “Personal Information

Considered by Reporter Concerning Third Party that was Not Reported” consists of information

supplied by reporters to SCO public affairs personnel regarding third parties but that which was

not subsequently reported on. As noted above, in order to withhold information pursuant to

Exemption 6, a balancing of the privacy interest of the individuals mentioned in these records

against any public interest in disclosure must weigh in favor of non-disclosure. In these

instances, in the course of their reporting, journalists developed information of uncertain veracity

concerning third parties which they sent to the SCO while soliciting SCO comment. Similarly,

given the politically charged environment surrounding the SCO's work as well as the rampant

speculation and scrutiny that occurs when any new fact or allegation is made public, disclosure

of this information, developed by journalists, relating to third parties, whose sole connection to

the work of the SCO consists of a reporter’s email, would certainly subject these individuals to

unwarranted harassment. Nor would this disclosure aid the public’s understanding of how the




                                                 21
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 23 of 80




Department carries out its duties. I have therefore determined that the privacy interests of these

third parties outweigh the public interest in the disclosure of the names of those employees.

                       v.      Phone and Email Contact Information and DOJ Employees’
                               Identities

       52.     The withholdings categorized in OIP’s Vaughn Index in Section D as “Third

Party Contact Information” and Section E as “DOJ Employee Contact Information and

Identities” consist of the personal email accounts and cell phones of reporters, third parties, and

the official email accounts and telephone numbers of SCO employees, as well as in some cases

the identities of employees in the SCO and other law enforcement personnel. In each instance

where phone and email contact information was withheld from plaintiff pursuant to Exemption 6,

OIP determined that the individual’s privacy interests were not outweighed by any FOIA public

interest in disclosure of that information. The release of personal email addresses, cell phone

numbers, and contact information of third parties, including members of the press, as well as

DOJ employees, would not aid the public's understanding of how the Department carries out its

duties, and only some direct contact information was protected. On the other hand, the release of

such information could subject those individuals to unwarranted harassment in their personal

time and personal lives, and as such the release of such information would “constitute a clearly

unwarranted invasion of personal privacy,” 5 U.S.C. § 552(b)(6). For reference, the Index lists

each page on which OIP withheld contact information in Sections D & E. For both cell phone

numbers and email addresses, a balancing analysis between the public interest in disclosure and

personal privacy interests favor the withholding of such information pursuant to Exemption 6.

       53.     Additionally, the names and identifying information, including contact

information of certain employees of the SCO and of law enforcement employees have been

withheld by OIP pursuant to Exemption 6. Releasing the names and identifying information of


                                                 22
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 24 of 80




law enforcement personnel would and could reasonably be expected to “constitute an

unwarranted invasion of personal privacy,” 5 U.S.C. § 552(b)(6). For reference, the Index lists

each page on which OIP withheld the names and identifying information, including contact

information of certain employees of the SCO and of law enforcement employees in Sections E.

Considering the sensitive and often contentious nature of the work of the SCO, as well as the

work law enforcement personnel conduct, disclosure of their identities could seriously prejudice

their effectiveness in conducting investigations to which they are assigned and subject them to

unwarranted harassment. Furthermore, releasing the names of law enforcement personnel would

not aid the public’s understanding of how the Department carries out its duties. I have therefore

determined that the privacy interests of the SCO employees,’ as well as the law enforcement

employees,’ outweigh the dearth of public interest in the disclosure of the names of those

employees.

                       vi.    Information Concerning Prior (pre-SCO) Contacts Between DOJ
                              Officials and Reporters

       54.     The withholdings categorized in OIP’s Vaughn Index as “Information Concerning

Prior (pre-SCO) Contacts Between DOJ Official and Reporters” reflect SCO officials' prior (pre-

SCO) associations with members of the news media seeking comment regarding SCO matters.

The SCO officials have a substantial privacy interest in this information. The information

consists only of additional personal details about their prior interaction with a member of the

news before their work at the SCO. There is, at most, only a de minimis public interest in

knowing about pre-SCO interactions between an SCO official and a member of the news media,

and that de minimis interest is outweighed by the privacy interest of the SCO official's personal

details remaining protected, because disclosure of this information—which amounts to only

personal anecdotes—would not shed light on the Department’s work. I have therefore


                                                23
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 25 of 80




determined that the privacy interests of the SCO officials outweigh the only de minimis public

interest in the disclosure of their prior contacts with members of the news media.

               2.      Segregation of Nonexempt Information

       55.     With respect to all of the withholdings described above, OIP has made every

effort to release all segregable information to plaintiff without invading on the interests that the

relevant exemptions were designed to protect. To that end, OIP conducted a line-by-line review

of the responsive documents to determine in good faith what material should be released

consistent with FOIA’s requirements. There is no additional, non-exempt information that can

be segregated for release to Plaintiff.

       C.      Information Withheld Pursuant to Exemptions 6 and 7(C)

       56.     OIP released in part one page with portions redacted pursuant to Exemptions 6

and 7(C) to protect an individual’s personal privacy.

               1.      Threshold Exemption (b)(7) Requirements

       57.     FOIA Exemption 7 exempts from mandatory disclosure records or information

“compiled for law enforcement purposes” when disclosure could reasonably be expected to

cause one of the harms enumerated in the subparts of the exemption. 5 U.S.C. § 552(b)(7).

Because the one page that was released in part consisted of information provided by a member of

the news media that it believed could be helpful to SCO’s investigation, this communication was

clearly compiled for a law enforcement purpose. Accordingly, I have determined that the

information contained in this record was “compiled for law enforcement purposes,” and thus

meets the threshold of Exemption 7.

               2.      Exemption 7(C)

       58.     OIP asserted Exemption 7(C), in conjunction with Exemption 6, to protect the

name and identifying information of a member of the news media who offered to provide
                                                 24
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 26 of 80




information to SCO that the individual believed potentially relevant to SCO’s investigation.

Information provided by individuals concerning ongoing investigations is a productive

investigative tool utilized by law enforcement agencies. The largest roadblock to successfully

obtaining the desired information is the fear of an individual that his or her identity could

possibly be exposed and, he or she could consequently be harassed, intimidated or threatened

with legal or economic reprisal, or possible physical harm. If the individual’s identity were

released, other potential sources could believe that any contacts they made with investigators to

provide what they believed to be pertinent information could also be made public. The

continued access to persons willing to assist in law enforcement investigations by providing

pertinent factual information without invasions to their privacy outweighs any public benefit that

could be derived from the disclosure of the identity of this individual. Furthermore, there is no

legitimate public interest to be served by releasing the identity of this individual who sought to

provide information to SCO.

               3.      Segregation of Non-Exempt Information

       59.     With respect to all of the withholdings described above, OIP has made every

effort to release all segregable information to plaintiff without invading on the interests that the

relevant exemptions were designed to protect. To that end, OIP conducted a line-by-line review

of the responsive documents to determine in good faith what material should be released

consistent with FOIA’s requirements. There is no additional, non-exempt information that can

be segregated for release to Plaintiff.

IV.    NON-RESPONSIVE AND DUPLICATIVE RECORDS

       60.     Once OIP determined that a record was responsive, OIP did not withhold any

information within that record unless OIP was authorized to do so pursuant to one or more



                                                 25
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 27 of 80




statutory exemptions provided by the FOIA. OIP did not process any records that it determined

to be non-responsive or duplicative. When a non-responsive or duplicative record appeared on a

separate PDF page, OIP removed that PDF page entirely. When OIP’s search software tools

formatted separate records onto the same PDF page, and non-responsive or duplicative records

shared a PDF page with responsive records, OIP marked non-responsive and duplicative records

accordingly and did not process them. OIP also reviewed each entry in the Weekly Press Report

that was processed as a separate and distinct record and marked one entry as non-responsive

because it was communication from a private individual citizen and not media. The Index

contains a list of the non-responsive and duplicate markings made by OIP in Sections F and G,

respectively.

       61.      OIP carefully reviewed the material it located in its initial searches and looked for

a clear break in the material in order to determine where one record ended and the next began.

OIP determined that each responsive letter, email, text message, or Weekly Report log entry, was

an independent record for multiple reasons. First, Plaintiff requested communications with the

media by the Special Counsel’s Office on specified subject matters, and some of the individual

text messages and emails OIP reviewed were unrelated to emails or texts that appeared earlier or

later in a thread or in a PDF page. OIP further observed that each letter, email, or text message

was a distinct record, whether it was initiating a conversation or responding to a previous record

of communication, because each message constituted a discrete package of information, with a

unique header and date- or time-stamp. Although modern technologies depart from the

traditional letter practice of dividing each record of communication onto a separate page, OIP

determined that each email or text message record was no less distinct than each letter it




                                                 26
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 28 of 80




reviewed. OIP also determined that each log entry in the Weekly Report was a distinct record as

each entry concerned a discreet and unique media interaction or communication.

       62.     By treating each individual letter, email, text message, and log entry as a distinct

record, OIP is able to more efficiently process FOIA requests especially to the extent that

responsive records require consultation with other equity holders. Even accounting for the time

it takes to identify records within a given document and to apply non-responsive redactions, this

process is still far more efficient because the alternative—processing non-responsive records—

would implicate multiple layers of unnecessary review.

       63.     OIP recognizes that when individuals communicate by letter, email, or text

message, each record may provide context for other records sent in response, and vice versa. For

example, in some circumstances, a response may incorporate by reference information from a

previous record. However, in other circumstances, especially in the context of email or text

message, a subsequent record may be completely unrelated to prior records or may relate only to

portions thereof. Therefore, when OIP conducted its responsiveness review in this case, we paid

close attention to any previous or subsequent letters, emails, or text messages in a chain in order

to understand each record in context and to ensure that it did not overlook responsive records that

would have otherwise appeared to be non-responsive out of context. Where neither the content

of a record itself, nor the context of prior or subsequent records indicated that a record was

responsive, OIP removed that record as non-responsive and did not process that record.




                                                 27
       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 29 of 80




           I declare under penalty of perjury that the foregoing is true and correct.




                                                             Vanessa R. Brinkmann
                                                             Senior Counsel


Executed this 8th day of April 2019.




                                                28
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 30 of 80




                Exhibit A
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 31 of 80
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 32 of 80
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 33 of 80
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 34 of 80
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 35 of 80
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 36 of 80
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 37 of 80
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 38 of 80
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 39 of 80
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 40 of 80




                Exhibit B
   Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 41 of 80

                                                           U.S. Department of Justice
                                                           Office of Information Policy
                                                           Suite 11050
                                                           1425 New York Avenue, NW
                                                           Washington, DC 20530-0001

Telephone: (202) 514-3642


                                                                  February 20, 2018

Mr. Larry Klayman
Freedom Watch, Inc.
Suite 345                                                  Re:    DOJ-2018-001793 (OIP)
2020 Pennsylvania Avenue NW                                       DOJ-2018-002230 (PAO)
Washington, DC 20006                                              1:18-cv-00088
leklayman@gmail.com                                               DRC:JRS

Dear Mr. Klayman:

       This is to acknowledge receipt of your Freedom of Information Act (FOIA) request
dated January 2, 2018 and received in this Office on January 3, 2018 in which you requested
communications with the media concerning the investigation and activities of Special Counsel
Robert Mueller. This response is made on behalf of the Office of Public Affairs and the
Special Counsel’s Office.

       You have requested expedited processing of your request and I have determined that
your request for expedited processing should be granted. Your request has been assigned to
the expedited track and will be processed as soon as practicable. We have not yet made a
decision on your request for a fee waiver. We will do so after we determine whether fees will
be assessed for this request.

      If you have any questions regarding this response, please contact Joseph Dugan of the
Department’s Civil Division, Federal Programs Branch, at (202) 514-3259.

                                                           Sincerely,



                                                           Daniel R. Castellano
                                                           Senior Attorney
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 42 of 80




                Exhibit C
   Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 43 of 80

                                                            U.S. Department of Justice
                                                            Office of Information Policy
                                                            Suite 11050
                                                            1425 New York Avenue, NW
                                                            Washington, DC 20530-0001

Telephone: (202) 514-3642

                                                                   September 4, 2018

Mr. Larry Klayman
Freedom Watch, Inc.
Suite 345                                                   Re:    DOJ-2018-001793 (OIP)
2020 Pennsylvania Avenue NW                                        DOJ-2018-002230 (PAO)
Washington, DC 20006                                               D.D.C. No. 18-0088
leklayman@gmail.com                                                VRB:TAZ:JRS

Dear Mr. Klayman:

       This is an interim response to your Freedom of Information Act (FOIA) request dated
January 2, 2018, and received in this Office on January 3, 2018, in which you requested
communications with the media concerning the investigation by and activities of Special
Counsel Robert Mueller. This response is made on behalf of the Offices of the Special
Counsel (SCO) and Public Affairs (PAO).

        Please be advised that searches have been conducted on behalf of SCO and PAO. At
this time, 3,441 pages containing records responsive to your request have been located. I have
determined that 3,440 pages are appropriate for release with certain excisions made pursuant
Exemptions 5 and 6 of the FOIA, 5 U.S.C. § 552(b)(5) and (b)(6), and copies are enclosed.
Additionally, one page is being withheld in full pursuant to Exemptions 6, 7(A), and 7(C) of
the FOIA, 5 U.S.C. § 552(b)(6), (b)(7)(A), and (b)(7)(C). Exemption 5 pertains to certain
inter- and intra-agency communications protected by the deliberative process privilege.
Exemption 6 pertains to information the release of which would constitute a clearly
unwarranted invasion of the personal privacy of third parties. Exemption 7(A) pertains to
records or information compiled for law enforcement purposes, the release of which could
reasonably be expected to interfere with enforcement proceedings. Exemption 7(C) pertains to
records or information compiled with law enforcement purposes, the release of which could
reasonably be expected to constitute an unwarranted invasion of the personal privacy of third
parties. Please note that the enclosed pages contain some records that are not responsive to
your request. Those records have not been processed, and are marked accordingly. Moreover,
some of the enclosed records contain highlighting which was present on the records as located,
and were not made pursuant to our FOIA review.

        As you are aware, since completing these searches, OIP was informed of technical
issues, which may have affected the searches conducted in response to your request. These
issues are not specific to your request. We cannot provide you with a final response to your
request until the technical issues are resolved. OIP has been working closely with our
electronic search support team to resolve these issues, and we will provide an update on the
status of their remedial search efforts by September 12, 2018.
   Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 44 of 80

                                               -2-


        For your information, Congress excluded three discrete categories of law enforcement
and national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c) (2012
& Supp. V 2017). This response is limited to those records that are subject to the requirements
of the FOIA. This is a standard notification that is given to all our requesters and should not be
taken as an indication that excluded records do, or do not, exist.

      If you have any questions regarding this response, please contact Joseph Dugan of the
Department’s Civil Division, Federal Programs Branch, at (202) 514-3259.

                                                             Sincerely,



                                                             Vanessa Brinkmann
                                                             Senior Counsel

Enclosures
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 45 of 80




                Exhibit D
   Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 46 of 80

                                                             U.S. Department of Justice
                                                             Office of Information Policy
                                                             Suite 11050
                                                             1425 New York Avenue, NW
                                                             Washington, DC 20530-0001

Telephone: (202) 514-3642

                                                                     November 1, 2018

Mr. Larry Klayman
Freedom Watch, Inc.
Suite 345                                                    Re:     DOJ-2018-001793 (OIP)
2020 Pennsylvania Avenue NW                                          DOJ-2018-002230 (PAO)
Washington, DC 20006                                                 D.D.C. No. 18-0088
leklayman@gmail.com                                                  VRB:TAZ:JRS

Dear Mr. Klayman:

       This is the final response to your Freedom of Information Act (FOIA) request dated
January 2, 2018, and received in this Office on January 3, 2018, in which you requested
communications with the media concerning the investigation by and activities of Special
Counsel Robert Mueller. This response is made on behalf of the Offices of the Special
Counsel (SCO) and Public Affairs (PAO).

        As we previously advised, supplemental searches were conducted on behalf of SCO
and PAO as a result of technical issues in the initial searches. These supplemental searches
resulted in 2,440 pages containing records responsive to your request being located. I have
determined that 2,440 pages are appropriate for release with certain excisions made pursuant
Exemptions 5 and 6 of the FOIA, 5 U.S.C. § 552(b)(5) and (b)(6), and copies are enclosed.
Exemption 5 pertains to certain inter- and intra-agency communications protected by the
deliberative process privilege. Exemption 6 pertains to information the release of which would
constitute a clearly unwarranted invasion of the personal privacy of third parties. Please note
that the enclosed pages contain some records that are not responsive to your request. Those
records have not been processed, and are marked accordingly.

        For your information, Congress excluded three discrete categories of law enforcement
and national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c) (2012
& Supp. V 2017). This response is limited to those records that are subject to the requirements
of the FOIA. This is a standard notification that is given to all our requesters and should not be
taken as an indication that excluded records do, or do not, exist.

        If you have any questions regarding this response, please contact Bradley Humphreys
of the Department’s Civil Division, Federal Programs Branch, at (202) 305-0878.

                                                             Sincerely,

                                                             Vanessa Brinkmann
Enclosure                                                    Senior Counsel
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 47 of 80




                Exhibit E
   Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 48 of 80

                                                              U.S. Department of Justice
                                                              Office of Information Policy
                                                              Suite 11050
                                                              1425 New York Avenue, NW
                                                              Washington, DC 20530-0001

Telephone: (202) 514-3642

                                                                     April 8, 2019

Larry Klayman
Freedom Watch, Inc.
Suite 345                                                     Re:    DOJ-2018-001793 (OIP)
2020 Pennsylvania Avenue NW                                          DOJ-2018-002230 (PAO)
Washington, DC 20006                                                 D.D.C. No. 18-0088
leklayman@gmail.com                                                  VRB:TAZ:SJD

Dear Larry Klayman:

       This is a supplemental response to your Freedom of Information Act (FOIA) request
dated January 2, 2018, and received in this Office on January 3, 2018, in which you requested
communications with the media concerning the investigation by and activities of Special
Counsel Robert Mueller. This response is made on behalf of the Offices of the Special
Counsel (SCO) and Public Affairs (PAO).

        We provided you with an interim response on September 4, 2018 and a final response
on November 1, 2018. Subsequent to our final response of November 1, 2018, events
transpired that allow for the release of additional material which was previously withheld
pursuant to Exemption 7(A). Please find enclosed one revised page, Bates Stamped 20181087-
000731, which is now appropriate for release with excisions made pursuant to Exemptions 6
and 7(C) of the FOIA, 5 U.S.C. § 552(b)(6) and (b)(7)(C). Exemption 6 pertains to
information the release of which would constitute a clearly unwarranted invasion of the
personal privacy of third parties. Exemption 7(C) pertains to records or information compiled
for law enforcement purposes, the release of which could reasonably be expected to constitute
an unwarranted invasion of the personal privacy of third parties.

        Additionally, we noticed that certain pages within the material released to you as part
of our two productions contained minor inconsistencies in some of the redactions. Attached,
please find five pages that have been re-processed for consistency. Below is a summary of the
re-processing and where this material was previously released to you:


 Bates Stamp                     Alteration for consistency   Where previously released
 20181087-002564                 Release of name              Released elsewhere within
                                                              same record
 20181087-004808                 Release of sentence fragment Released within
                                                              20181087-002753
 20181087-004812                 Release of sentence fragment Released within
                                                              20181087-004533
   Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 49 of 80

                                               -2-


 20181087-005443                 Release of sentence fragment Released within
                                                              20181087-002753
 20181087-005447                 Release of sentence fragment Released within
                                                              20181087-004533

        For your information, Congress excluded three discrete categories of law enforcement
and national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c) (2012
& Supp. V 2017). This response is limited to those records that are subject to the requirements
of the FOIA. This is a standard notification that is given to all our requesters and should not be
taken as an indication that excluded records do, or do not, exist.

        If you have any questions regarding this response, please contact Bradley Humphreys
of the Department’s Civil Division, Federal Programs Branch, at (202) 305-0878.

                                                             Sincerely,



                                                             Vanessa Brinkmann
                                                             Senior Counsel

Enclosures
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 50 of 80




                                                                    20181087-000731
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 51 of 80




                                                                    20181087-002564
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 52 of 80




                                                               20181087-004808
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 53 of 80




                                                               20181087-004812
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 54 of 80




                                                               20181087-005443
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 55 of 80




                                                               20181087-005447
Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 56 of 80




                Exhibit F
                                 Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 57 of 80


                                        Freedom Watch, Inc. v. Robert S. Mueller III & U.S. Dep't of Justice,
                                                         Civil Action No. 18-cv-00088
                                                 U.S. District Court for the District of Columbia

                                                  Office of Information Policy (OIP) Vaughn Index

This index contains a description of the 1,941 pages of records withheld in part by OIP, pursuant to Freedom of Information Act (FOIA) Exemption 5
(deliberative process privilege), Exemption 6 (personal privacy), and Exemption 7(C) (personal privacy). 1 For clarity of presentation, the records in
this Vaughn Index are keyed to document categories which are discussed in detail in the accompanying declaration. The descriptions of each record
within this Vaughn Index are meant to be read in tandem with the OIP declaration, which provides a more fulsome explanation of the basis for
withholding the information at issue. The document categories are as follows:
Documents Released in Part:
Exemption 5 Withholding Categories:
       Internal Deliberative Discussions Regarding Press Coverage and Press Inquiries [Section A]
       Internal Deliberative Notes Regarding Press Coverage and Press Inquiries [Section A]
Exemption 6 Withholding Categories:
       Activities and Details of a Purely Personal Nature [Section B]
       Information Identifying Individuals Not Officially Confirmed to be with SCO [Section B]
       Personal Information Considered By Reporter Concerning Third Party That Was Not Reported [Section B]
       Information Identifying and/or About a Third Party or Third Parties [Section B]
       Information Concerning Prior (pre-SCO) Contacts Between DOJ Officials and Reporters [Section B]
       Third Party Contact Information [Section D]
       DOJ Employee Contact Information and Identities [Section E]
Exemption 6 and 7(C) Withholding Category:
       Information Provided by a Member of the News Media that Sender Believed Could be Helpful to SCO's Investigation [Section C]
Other Markings:
       Non-Responsive Record Markings [Section F]
       Duplicative Record Markings [Section G]




1
  As described in the accompanying declaration, subsequent to OIP's final response, events transpired pertaining to the Special Counsel's
investigation such that there no longer existed a basis for the assertion of a withholding pursuant to Exemption 7(A). On April 8, 2018 OIP released
in part one formerly withheld-in full page, with excisions made, in part, pursuant to FOIA Exemptions 6 and 7(C).
                                Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 58 of 80

This Vaughn Index will use acronyms when referring to the components and offices of the Department of Justice (DOJ): the Offices of the Attorney
General (OAG), Deputy Attorney General (ODAG), Associate Attorney General (OASG), Public Affairs (PAO), and Special Counsel's Office
(SCO).


   A. DOJ Office of Information Policy, Records Released-in-Part, Pursuant to Exemption 5


                                                                             Description of Withheld
 Bates Numbers         Date       Record Sender/Recipient/Subject                                               Exemption(s)          Pages
                                                                                     Material
                                 To: PAC                                 Internal Deliberative Discussions       Exemption 5:
    20181087-
                     6/22/17     From: ASJZ                               Regarding Press Coverage and           Deliberative       1 (partial)
     000333
                                 Subject: New Job                                 Press Inquiries              Process Privilege
                                 To: PAC                                 Internal Deliberative Discussions       Exemption 5:
    20181087-
                     9/20/17     From: ACJ                                Regarding Press Coverage and           Deliberative       1 (partial)
     001642
                                 Subject: Voicemail from reporter                 Press Inquiries              Process Privilege
   20181087-         July 19
                                                                           Internal Deliberative Notes           Exemption 5:
 003326 through      through
                                 Weekly Press Report                      Regarding Press Coverage and           Deliberative      113 (partials)
   20181087-        December
                                                                                 Press Inquiries               Process Privilege
    003441          29, 2017
                                 To: PAC                                 Internal Deliberative Discussions       Exemption 5:
    20181087-
                     6/12/17     From: AAW                                Regarding Press Coverage and           Deliberative       1 (partial)
     003807
                                 Subject: media request - article                 Press Inquiries              Process Privilege

   B. DOJ Office of Information Policy, Records Released-in-Part, Pursuant to Exemption 6
 Bates Numbers        Date        Record Sender/Recipient/Subject            Description of Withheld            Exemption(s)          Pages
                                                                                      Material
 20181087-           5/17/17    To: Matt Zapotosky                       Activities and Details of a Purely   Exemption 6:          1 (partial)
 000086;                        From: Sarah Isgur Flores                          Personal Nature             Personal Privacy
 20181087-                      Subject: waiver of ethics rules?
 003621
 20181087-            12/5      Sarah Isgur Flores Text Message          Activities and Details of a Purely   Exemption 6:          1 (partial)
 000248                                                                           Personal Nature             Personal Privacy
 20181087-            12/8      Sarah Isgur Flores Text Message         Information Identifying Individuals   Exemption 6:          1 (partial)
 000285                                                                   Not Officially Confirmed to be      Personal Privacy
                                                                                      with SCO
                      Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 59 of 80

20181087-   6/22/17   To: Christopher Peak                  Activities and Details of a Purely    Exemption 6:       1 (partial)
000334                From: Aaron Zelinsky                           Personal Nature              Personal Privacy
                      Subject: New Job
20181087-   6/27/17   To: Del Wilber                        Information Identifying Individuals Exemption 6:         1 (partial)
000374                From: SpecialCounselPress               Not Officially Confirmed to be    Personal Privacy
                      Subject:                                            with SCO
                      To: SpecialCounselPress                                                   Exemption 6:         1 (partial)
20181087-                                                    Activities and Details of a Purely
            6/28/17   From: Del Wilber                                                          Personal Privacy
000383                                                                Personal Nature
                      Subject: coffee this afternoon?
                      To: SpecialCounselPress                                                     Exemption 6:       1 (partial)
                                                              Information Concerning Prior
20181087-             From: David Rohde                                                           Personal Privacy
            6/27/17                                         (pre-SCO) Contacts Between DOJ
000395                Subject: Meeting Request – Friday
                                                                  Officials and Reporters
                      6/30
                      To: Matt Zapotosky                                                          Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/1/17    From: SpecialCounselPress                                                   Personal Privacy
000402                                                               Personal Nature
                      Subject: Just Confirming…
                      To: Del Wilber                                                              Exemption 6:       1 (partial)
20181087-             From: SpecialCounselPress              Activities and Details of a Purely   Personal Privacy
            7/3/17
000415                Subject: Re: Where/when should I                Personal Nature
                      meet you today?
                      To: SpecialCounselPress                                                     Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/5/17    From: Ryan Reilly                                                           Personal Privacy
000436                                                               Personal Nature
                      Subject: RE: Special Counsel Budget
                      To: SpecialCounselPress                                                     Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/10/17   From: Andres, Triay                                                         Personal Privacy
000692                                                               Personal Nature
                      Subject: checking in
                      To: Evan Perez                                                              Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/14/17   From: SpecialCounselPress                                                   Personal Privacy
000755                                                               Personal Nature
                      Subject: RE: Peter I have a query
                      To: Stephanie Kirchgaessner                                                 Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/19/17   From: 20181087-000792                                                       Personal Privacy
000794                                                               Personal Nature
                      Subject: urgent question for story
                      To: Ben Jacobs                                                              Exemption 6:       1 (partial)
                      From: SpecialCounselPress                                                   Personal Privacy
20181087-                                                   Activities and Details of a Purely
            7/19/17   Subject: just checking for comment
000795                                                               Personal Nature
                      on POTUS' statement to NYT about
                      investigation
                      Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 60 of 80

                      To: Evan Perez                                                             Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/19/17   From: SpecialCounselPress                                                  Personal Privacy
000796                                                               Personal Nature
                      Subject: Comment request
                      To: Chris Geidner                                                          Exemption 6:       1 (partial)
20181087-             From: SpecialCounselPress             Activities and Details of a Purely   Personal Privacy
            7/19/17
000797                Subject: Any comment on tonight's              Personal Nature
                      NYT Trump interview?
                      To: Josh Gerstein                                                          Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/19/17   From: SpecialCounselPress                                                  Personal Privacy
000798                                                               Personal Nature
                      Subject: NYT article
                      To: Sari Horwitz                                                           Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/19/17   From: SpecialCounselPress                                                  Personal Privacy
000799                                                               Personal Nature
                      Subject: NYT Story
                      To: Jordan Fabian                                                          Exemption 6:       1 (partial)
20181087-             From: SpecialCounselPress             Activities and Details of a Purely   Personal Privacy
            7/19/17
000801                Subject: POTUS statements on                   Personal Nature
                      Special Counsel Mueller
                      To: Jack V. Date                                                           Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/19/17   From: SpecialCounselPress                                                  Personal Privacy
000802                                                               Personal Nature
                      Subject: Any response to NYT story?
                      To: Andres Triay                                                           Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/19/17   From: SpecialCounselPress                                                  Personal Privacy
000803                                                               Personal Nature
                      Subject: Nyt pres trump interview
                      To: Andres Triay                                                           Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/19/17   From: SpecialCounselPress                                                  Personal Privacy
000804                                                               Personal Nature
                      Subject: Nyt pres trump interview
                      To: Bulletin Intelligence                                                  Exemption 6:       1 (partial)
                      From: PAC                                                                  Personal Privacy
20181087-                                                   Activities and Details of a Purely
            7/20/17   Subject: Automatic Reply: Special
000805                                                               Personal Nature
                      Counsel's Office News Briefing for
                      Thursday, July 20 2017
                      To: SpecialCounselPress                                                    Exemption 6:       1 (partial)
20181087-             From: Aruna Viswanatha                Activities and Details of a Purely   Personal Privacy
            7/20/17
000808                Subject: comment on President                  Personal Nature
                      Trump's comments re special counsel
                      Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 61 of 80

                      To: Aruna Viswanatha                                                       Exemption 6:       1 (partial)
20181087-             From: SpecialCounselPress             Activities and Details of a Purely   Personal Privacy
            7/20/17
000808                Subject: comment on President                  Personal Nature
                      Trump's comments re special counsel
                      To: Natalie Sherman                                                        Exemption 6:       1 (partial)
20181087-             From: SpecialCounselPress             Activities and Details of a Purely   Personal Privacy
            7/20/17
000818                Subject: BBC re: Deutsche                      Personal Nature
                      Bank/investigation
                      To: Matt Apuzzo                                                            Exemption 6:       1 (partial)
20181087-             From: SpecialCounselPress             Activities and Details of a Purely   Personal Privacy
            7/20/17
000822                Subject: Seeking comment for                   Personal Nature
                      tonight
                      To: SpecialCounselPress                                                    Exemption 6:       1 (partial)
20181087-             From: Matt Apuzzo                     Activities and Details of a Purely   Personal Privacy
            7/20/17
000822                Subject: Seeking comment for                   Personal Nature
                      tonight
                      To: Matt Apuzzo                                                            Exemption 6:       1 (partial)
20181087-             From: SpecialCounselPress             Activities and Details of a Purely   Personal Privacy
            7/20/17
000822                Subject: Seeking comment for                   Personal Nature
                      tonight
                      To: SpecialCounselPress                                                    Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/21/17   From: Eamon Javers                                                         Personal Privacy
000830                                                               Personal Nature
                      Subject: Oppo?
20181087-             To: Peter Nicholas                                                         Exemption 6:       1 (partial)
000838;               From: SpecialCounselPress             Activities and Details of a Purely   Personal Privacy
            7/20/17
20181087-             Subject: Query from Wall Street                Personal Nature
000843                Journal
                      To: Demetri Sevastopulo                                                    Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/21/17   From: SpecialCounselPress                                                  Personal Privacy
000840                                                               Personal Nature
                      Subject: Re:
                      To: Massimo Calabresi                                                      Exemption 6:       1 (partial)
20181087-             From: SpecialCounselPress             Activities and Details of a Purely   Personal Privacy
            7/21/17
000856                Subject: TIME Cover: Securing the              Personal Nature
                      vote
                      To: Julia Ainsley                                                          Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/21/17   From: SpecialCounselPress                                                  Personal Privacy
000858                                                               Personal Nature
                      Subject: Comment for Reuters story
                      Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 62 of 80

                      To: Matthew Alexander                                                      Exemption 6:       1 (partial)
20181087-             From: SpecialCounselPress             Activities and Details of a Purely   Personal Privacy
            7/21/17
000860                Subject: Q from The Rachel Maddow              Personal Nature
                      Show
                      To: Nick Schifrin                                                          Exemption 6:       1 (partial)
20181087-             From: SpecialCounselPress             Activities and Details of a Purely   Personal Privacy
            7/24/17
000866                Subject: PBS NewsHour                          Personal Nature
                      introductions
                      To: SpecialCounselPress                                                    Exemption 6:       1 (partial)
                                                              Information Identifying and/or
20181087-             From: Alastair Sloan                                                       Personal Privacy
            7/17/17                                            about a Third Party or Third
000870                Subject: Wanted to confirm whether
                                                                         Parties
                      [b(6)] got hired by SCO?
                      To: SpecialCounselPress                 Information Identifying and/or     Exemption 6:       1 (partial)
20181087-
            7/17/17   From: Alastair Sloan                     about a Third Party or Third      Personal Privacy
000871
                      Subject:                                           Parties
                      To: SpecialCounselPress                                                   Exemption 6:        1 (partial)
                                                            Information Identifying Individuals
20181087-             From: Greg Farrell                                                        Personal Privacy
            7/17/17                                           Not Officially Confirmed to be
000880                Subject: Bloomberg News Story on
                                                                        with SCO
                      Special Counsel's investigation
                      To: Gregg Farrell                                                          Exemption 6:       1 (partial)
20181087-             From: SpecialCounselPress             Activities and Details of a Purely   Personal Privacy
            7/20/17
000881                Subject: Bloomberg News Story on               Personal Nature
                      Special Counsel's investigation
                      To: Andres Triay                                                           Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            8/2/17    From: SpecialCounselPress                                                  Personal Privacy
000909                                                               Personal Nature
                      Subject: New hire
                      To: Dylan Tokar                                                            Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            8/2/17    From: SpecialCounselPress                                                  Personal Privacy
000915                                                               Personal Nature
                      Subject: Greg Andres
                      To: Dylan Tokar                                                            Exemption 6:       1 (partial)
20181087-             From: Peter Carr                      Activities and Details of a Purely   Personal Privacy
            8/2/17
000916                Subject: Automatic Reply: Greg                 Personal Nature
                      Andres
                      To: Eric Williamson                                                        Exemption 6:       1 (partial)
20181087-             From: SpecialCounselPress             Activities and Details of a Purely   Personal Privacy
            7/31/17
000926                Subject: Request for interview, UVA            Personal Nature
                      Lawyer magazine
                      Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 63 of 80

                      To: SpecialCounselPress                                                   Exemption 6:       1 (partial)
20181087-                                                  Activities and Details of a Purely
            8/3/17    From: David Lynch                                                         Personal Privacy
000953                                                              Personal Nature
                      Subject: comment?
                      To: David Lynch                                                           Exemption 6:       1 (partial)
20181087-                                                  Activities and Details of a Purely
            8/3/17    From: SpecialCounselPress                                                 Personal Privacy
000953                                                              Personal Nature
                      Subject: comment?
                      To: SpecialCounselPress                                                   Exemption 6:       1 (partial)
20181087-                                                  Activities and Details of a Purely
            8/3/17    From: David Lynch                                                         Personal Privacy
000953                                                              Personal Nature
                      Subject: comment?
                      To: Tierney Sneed                                                         Exemption 6:       1 (partial)
20181087-                                                  Activities and Details of a Purely
            8/3/17    From: SpecialCounselPress                                                 Personal Privacy
000961                                                              Personal Nature
                      Subject: Press inquiry: Grand Jury
                      To: Todd Ruger                                                            Exemption 6:       1 (partial)
20181087-                                                  Activities and Details of a Purely
            8/3/17    From: SpecialCounselPress                                                 Personal Privacy
000970                                                              Personal Nature
                      Subject: Reconnecting
                      To: Geneva Sands                                                          Exemption 6:       1 (partial)
20181087-                                                  Activities and Details of a Purely
            8/3/17    From: SpecialCounselPress                                                 Personal Privacy
000977                                                              Personal Nature
                      Subject: ABC News - question
                      To: Gregg Farrell                                                         Exemption 6:       1 (partial)
20181087-                                                  Activities and Details of a Purely
            8/10/17   From: SpecialCounselPress                                                 Personal Privacy
001065                                                              Personal Nature
                      Subject: today's story. . .
                      To: SpecialCounselPress                                                   Exemption 6:       1 (partial)
20181087-                                                  Activities and Details of a Purely
            8/10/17   From: Kelly Cohen                                                         Personal Privacy
001073                                                              Personal Nature
                      Subject: comment for story
                      To: SpecialCounselPress                                                   Exemption 6:       1 (partial)
20181087-                                                  Activities and Details of a Purely
            8/16/17   From: Sarah N. Lynch                                                      Personal Privacy
001119                                                              Personal Nature
                      Subject: coffee catchup?
                      To: Pete Williams                                                         Exemption 6:       1 (partial)
20181087-                                                  Activities and Details of a Purely
            8/22/17   From: SpecialCounselPress                                                 Personal Privacy
001152                                                              Personal Nature
                      Subject: Checking in
                      To: Pete Williams                                                         Exemption 6:       1 (partial)
20181087-                                                  Activities and Details of a Purely
            8/22/17   From: Joshua Stueve                                                       Personal Privacy
001153                                                              Personal Nature
                      Subject: Checking in
20181087-                                                                                       Exemption 6:       1 (partial)
                      To: Betsy Woodruff
001159;                                                    Activities and Details of a Purely   Personal Privacy
            8/23/17   From: SpecialCounselPress
20181087-                                                           Personal Nature
                      Subject: Quick fact check q
001163
                      Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 64 of 80

                      To: Andrew Beatty                                                          Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            9/8/17    From: SpecialCounselPress                                                  Personal Privacy
001344                                                               Personal Nature
                      Subject: WH interviews
                      To: Greg Farrell                                                           Exemption 6:       1 (partial)
                      From: SpecialCounselPress                                                  Personal Privacy
20181087-                                                   Activities and Details of a Purely
            9/14/17   Subject: Bloomberg story on
001458                                                               Personal Nature
                      'adoption' meeting involving Donald
                      Trump Jr.
                      To: Andres Triay                                                           Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            9/14/17   From: SpecialCounselPress                                                  Personal Privacy
001471                                                               Personal Nature
                      Subject: Ironbridge
20181087-                                                                                        Exemption 6:       1 (partial)
                      To: SpecialCounselPress
001539;                                                     Activities and Details of a Purely   Personal Privacy
            9/18/17   From: Carrie Johnson
20181087-                                                            Personal Nature
                      Subject: quick q, not urgent
001540
                      To: Carrie Johnson                                                         Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            9/18/17   From: SpecialCounselPress                                                  Personal Privacy
001540                                                               Personal Nature
                      Subject: quick q, not urgent
                      To: Josh Gerstein                                                          Exemption 6:       1 (partial)
20181087-             From: SpecialCounselPress             Activities and Details of a Purely   Personal Privacy
            9/20/17
001604                Subject: Mueller's team interviewed            Personal Nature
                      Rosenstein over the summer
                      To: SpecialCounselPress               Personal Information Considered      Exemption 6:       1 (partial)
20181087-
            9/20/17   From: Betsy Woodruff                   By Reporter Concerning Third        Personal Privacy
001606
                      Subject: Can you give me a ring?       Party That Was Not Reported
                      To: PAC                                                                    Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            9/20/17   From: ASJZ                                                                 Personal Privacy
001632                                                               Personal Nature
                      Subject: Call from Matt Zapotosky
                      To: Kevin Johnson                                                          Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            9/20/17   From: SpecialCounselPress                                                  Personal Privacy
001639                                                               Personal Nature
                      Subject: Peter and Josh
                      To: Darren Samuelsohn                                                      Exemption 6:       1 (partial)
20181087-             From: SpecialCounselPress             Activities and Details of a Purely   Personal Privacy
            9/28/17
001717                Subject: Can you please give me a              Personal Nature
                      ring Peter, today or Thurs?
                       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 65 of 80

20181087-                                                                                       Exemption 6:       1 (partial)
                       To: SpecialCounselPress
001730;                                                    Activities and Details of a Purely   Personal Privacy
            9/29/17    From: Kelly Cohen
20181087-                                                           Personal Nature
                       Subject: coffee
001754
                       Attachment to email 20181087-                                            Exemption 6:       1 (partial)
                       001740                               Information Identifying and/or      Personal Privacy
20181087-
            9/29/17    To: John Gerstein                     about a Third Party or Third
001741
                       From: SpecialCounselPress                       Parties
                       Subject: Latest photo
                       To: Eric Tucker                                                          Exemption 6:       1 (partial)
20181087-                                                  Activities and Details of a Purely
            10/6/17    From: SpecialCounselPress                                                Personal Privacy
001789                                                              Personal Nature
                       Subject: Budget
                       To: SpecialCounselPress                                                  Exemption 6:       1 (partial)
                       From: Brooke Singman                 Information Identifying and/or      Personal Privacy
20181087-
            10/23/17   Subject: Fox News request –           about a Third Party or Third
001873
                       Investigating Podesta Group, Tony               Parties
                       Podesta
                       To: SpecialCounselPress                                                  Exemption 6:       1 (partial)
                                                            Information Identifying and/or
20181087-              From: Henry Rodgers                                                      Personal Privacy
            10/30/17                                         about a Third Party or Third
002127                 Subject: Confirmation RE Paul
                                                                       Parties
                       Manafort Alexandria Rug Dealings
                       To: SpecialCounselPress                                                  Exemption 6:       1 (partial)
20181087-              From: Matt Flegenheimer             Activities and Details of a Purely   Personal Privacy
            11/1/17
002290                 Subject: NYT article/Andrew                  Personal Nature
                       Weissmann
                       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 66 of 80

20181087-                                                                                       Exemption 6:       1 (partial)
002306;                                                                                         Personal Privacy
20181087-
002364;
20181087-
002510;
20181087-              To: SpecialCounselPress
                                                           Personal Information Considered
002531;                From: Catherine Herridge
            10/29/17                                        By Reporter Concerning Third
20181087-              Subject: Fox News Query –
                                                            Party That Was Not Reported
002755;                additional information
20181087-
004553;
20181087-
004812;
20181087-
005447
20181087-                                                                                       Exemption 6:       1 (partial)
002363;                                                                                         Personal Privacy
20181087-
002509;
20181087-
002530;                To: Catherine Herridge
20181087-              From: SpecialCounselPress           Activities and Details of a Purely
            11/4/17
002754;                Subject: Fox News Query –                    Personal Nature
20181087-              additional information
004551;
20181087-
004810;
20181087-
005445
                       To: SpecialCounselPress                                                  Exemption 6:       1 (partial)
                       From: Allegra Kirkland               Information Identifying and/or      Personal Privacy
20181087-
            11/9/17    Subject: TPM request for comment      about a Third Party or Third
002416
                       on Corey Lewandoski contact with                Parties
                       special counsel
                       To: Josh Gerstein                                                        Exemption 6:       1 (partial)
20181087-                                                  Activities and Details of a Purely
            11/10/17   From: SpecialCounselPress                                                Personal Privacy
002426                                                              Personal Nature
                       Subject: Sorry I missed your call
                       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 67 of 80

                       To: SpecialCounselPress                                                     Exemption 6:       1 (partial)
20181087-              From: Josh Gerstein                   Activities and Details of a Purely    Personal Privacy
            11/13/17
002448                 Subject: Passage in SCO Manafort               Personal Nature
                       bail filing last week
20181087-                                                                                          Exemption 6:       1 (partial)
002508;                                                                                            Personal Privacy
20181087-
002529;                To: SpecialCounselPress
                                                             Personal Information Considered
20181087-              From: Catherine Herridge
            11/20/17                                          By Reporter Concerning Third
002753;                Subject: follow up - Fox Query/new
                                                              Party That Was Not Reported
20181087-              information on timing, participants
004808;
20181087-
005443
                       To: SpecialCounselPress                 Information Identifying and/or      Exemption 6:       1 (partial)
20181087-
            11/26/17   From: Scott Stedman                      about a Third Party or Third       Personal Privacy
002563
                       Subject: Request for Comment                       Parties
                       To: SpecialCounselPress                                                     Exemption 6:       1 (partial)
20181087-                                                    Activities and Details of a Purely
            11/26/17   From: Scott Stedman                                                         Personal Privacy
002563                                                                Personal Nature
                       Subject: Request for Comment
                       To: PAC                                 Information Identifying and/or      Exemption 6:       1 (partial)
20181087-
            11/22/17   From: Elizabeth Prelogar                 about a Third Party or Third       Personal Privacy
002564
                       Subject: Marie Claire                              Parties
                       To: Elizabeth Prelogar                                                      Exemption 6:       1 (partial)
20181087-                                                    Activities and Details of a Purely
            11/22/17   From: [b(6)]                                                                Personal Privacy
002565                                                                Personal Nature
                       Subject: Marie Claire
20181087-                                                                                          Exemption 6:       1 (partial)
002843;                                                                                            Personal Privacy
20181087-
                       To: SpecialCounselPress               Information Identifying Individuals
002940;
            12/3/17    From: Aruna Viswanatha                  Not Officially Confirmed to be
20181087-
                       Subject: Andrew Weissman                          with SCO
005432;
20181087-
005433
                       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 68 of 80

20181087-                                                                                     Exemption 6:       1 (partial)
002843;                                                                                       Personal Privacy
20181087-
                       To: SpecialCounselPress            Information Identifying Third
002940;
            12/3/17    From: Aruna Viswanatha            Party Not Confirmed to be with
20181087-
                       Subject: Andrew Weissman                       SCO
005432;
20181087-
005433
20181087-                                                                                     Exemption 6:       1 (partial)
                       To: Peter Carr
003017;                                                  Activities and Details of a Purely   Personal Privacy
            12/11/17   From: Garrett M. Graff
20181087-                                                         Personal Nature
                       Subject:
005557
                       To: SpecialCounselPress            Information Identifying and/or      Exemption 6:       1 (partial)
20181087-
            12/14/17   From: Kara, Scannell                about a Third Party or Third       Personal Privacy
003065
                       Subject: Political donations                  Parties
20181087-                                                                                     Exemption 6:       1 (partial)
                       To: SpecialCounselPress            Information Identifying and/or
003068;                                                                                       Personal Privacy
            12/14/17   From: Kara, Scannell                about a Third Party or Third
20181087-
                       Subject: Political donations                  Parties
005726
                       To: Evan Perez                                                         Exemption 6:       1 (partial)
20181087-                                                Activities and Details of a Purely
            12/14/17   From: SpecialCounselPress                                              Personal Privacy
003069                                                            Personal Nature
                       Subject: query from Evan
                       To: Chris Strohm                                                       Exemption 6:       1 (partial)
20181087-                                                Activities and Details of a Purely
            12/20/17   From: SpecialCounselPress                                              Personal Privacy
003153                                                            Personal Nature
                       Subject: Quick Question
                       To: SpecialCounselPress                                                Exemption 6:       1 (partial)
20181087-                                                Activities and Details of a Purely
            12/20/17   From: Chris Strohm                                                     Personal Privacy
003153                                                            Personal Nature
                       Subject: Quick Question
                       To: Sarah N. Lynch                                                     Exemption 6:       1 (partial)
20181087-                                                Activities and Details of a Purely
            12/21/17   From: SpecialCounselPress                                              Personal Privacy
003156                                                            Personal Nature
                       Subject: Seeking guidance
                       To: SpecialCounselPress                                                Exemption 6:       1 (partial)
20181087-              From: Andrew Egger                Activities and Details of a Purely   Personal Privacy
            12/21/17
003157                 Subject: special counsel team –            Personal Nature
                       general profile
                       To: Wyn Hornbuckle                                                     Exemption 6:       1 (partial)
20181087-                                                Activities and Details of a Purely
            12/22/17   From: SpecialCounselPress                                              Personal Privacy
003185                                                            Personal Nature
                       Subject: Hickey Call re FARA
                       Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 69 of 80

20181087-                                                                                    Exemption 6:       1 (partial)
003186;                                                                                      Personal Privacy
                       To: Mark Hosenball
20181087-                                               Activities and Details of a Purely
            12/22/17   From: SpecialCounselPress
005866;                                                          Personal Nature
                       Subject: Gates fundraising
20181087-
005878
                       To: Mark Hosenball                                                    Exemption 6:       1 (partial)
20181087-                                               Activities and Details of a Purely
            12/26/17   From: SpecialCounselPress                                             Personal Privacy
003195                                                           Personal Nature
                       Subject: Ike Kaveladze
                       To: SpecialCounselPress                                               Exemption 6:       1 (partial)
20181087-                                               Activities and Details of a Purely
            12/30/17   From: Andres Triay                                                    Personal Privacy
003256                                                           Personal Nature
                       Subject: George P
20181087-                                               Activities and Details of a Purely   Exemption 6:       1 (partial)
             11/19     SCO text message
003267                                                           Personal Nature             Personal Privacy
20181087-                                                                                    Exemption 6:       1 (partial)
003268;                                                 Activities and Details of a Purely   Personal Privacy
             12/29     SCO text message
20181087-                                                        Personal Nature
003269
20181087-                                               Activities and Details of a Purely   Exemption 6:       1 (partial)
              4/3      SCO text message
003270                                                           Personal Nature             Personal Privacy
20181087-                                               Activities and Details of a Purely   Exemption 6:       1 (partial)
              6/14     SCO text message
003271                                                           Personal Nature             Personal Privacy
20181087-                                               Activities and Details of a Purely   Exemption 6:       1 (partial)
             12/01     SCO text message
003275                                                           Personal Nature             Personal Privacy
20181087-                                               Activities and Details of a Purely   Exemption 6:       1 (partial)
              2/15     SCO text message
003280                                                           Personal Nature             Personal Privacy
20181087-                                               Activities and Details of a Purely   Exemption 6:       1 (partial)
               ?       SCO text message
003285                                                           Personal Nature             Personal Privacy
20181087-                                                                                    Exemption 6:       1 (partial)
003286;                                                 Activities and Details of a Purely   Personal Privacy
              6/19     SCO text message
20181087-                                                        Personal Nature
003287
20181087-                                               Activities and Details of a Purely   Exemption 6:       1 (partial)
              8/3      SCO text message
003289                                                           Personal Nature             Personal Privacy
20181087-                                               Activities and Details of a Purely   Exemption 6:       1 (partial)
              6/14     SCO text message
003296                                                           Personal Nature             Personal Privacy
20181087-                                               Activities and Details of a Purely   Exemption 6:       1 (partial)
                       SCO text message
003304                                                           Personal Nature             Personal Privacy
                        Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 70 of 80

20181087-                                                                                           Exemption 6:       1 (partial)
003309;                                                        Activities and Details of a Purely   Personal Privacy
              9/14      SCO text message
20181087-                                                               Personal Nature
003310
20181087-                                                      Activities and Details of a Purely   Exemption 6:       1 (partial)
              7/20      SCO text message
003311                                                                  Personal Nature             Personal Privacy
20181087-                                                                                           Exemption 6:       1 (partial)
003321;                                                        Activities and Details of a Purely   Personal Privacy
              6/14      SCO text message
20181087-                                                               Personal Nature
003322
20181087-                                                     Activities and Details of a Purely    Exemption 6:       1 (partial)
              6/14      SCO text message
003325                                                                 Personal Nature              Personal Privacy
            September                                        Information Identifying Individuals    Exemption 6:       1 (partial)
20181087-
              18-22,    Weekly Press Report                     Not Officially Confirmed to be      Personal Privacy
003374
               2017                                                        with SCO
                                                             Information Identifying Individuals    Exemption 6:       1 (partial)
20181087-   November
                        Weekly Press Report                     Not Officially Confirmed to be      Personal Privacy
003405      13, 2017
                                                                           with SCO
20181087-   November                                           Information Identifying a Third      Exemption 6:       1 (partial)
                        Weekly Press Report
003411      20, 2017                                                Party or Third Parties          Personal Privacy
20181087-   December                                           Information Identifying a Third      Exemption 6:       1 (partial)
                        Weekly Press Report
003425      4-8, 2017                                               Party or Third Parties          Personal Privacy
                                          November 1, 2018 Remediation Production
20181087-               To: Press                                                                   Exemption 6:       1 (partial)
003446;                 From: Dan Boylan                      Activities and Details of a Purely    Personal Privacy
             5/30/17
20181087-               Subject: Seeking Peter Carr // Media           Personal Nature
003778                  inquiry
                        To: Laura Jarrett                                                           Exemption 6:       1 (partial)
20181087-                                                     Activities and Details of a Purely
             6/20/17    From: Peter Carr                                                            Personal Privacy
003508                                                                 Personal Nature
                        Subject: Special counsel atty
20181087-               To: Del Wilber                                                              Exemption 6:       1 (partial)
                                                             Information Identifying Individuals
003539;                 From: Peter Carr                                                            Personal Privacy
             6/22/17                                            Not Officially Confirmed to be
20181087-               Subject: I asked the other day about
                                                                           with SCO
003847                  staffing updates
                        To: Peter Carr                                                              Exemption 6:       1 (partial)
20181087-                                                     Activities and Details of a Purely
             8/4/17     From: Tony Capra                                                            Personal Privacy
003568                                                                 Personal Nature
                        Subject: Grand Jury Clarification
                      Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 71 of 80

                      To: Sarah Isgur Flores                                                     Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/25/17   From: gkant@wnd.com                                                        Personal Privacy
003694                                                               Personal Nature
                      Subject: Request for comment
                      To: Sarah Isgur Flores                                                     Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            8/5/17    From: Chris Wallace                                                        Personal Privacy
003699                                                               Personal Nature
                      Subject: any news?
                      To: Chris Wallace                                                          Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            8/4/17    From: Sarah Isgur Flores                                                   Personal Privacy
003699                                                               Personal Nature
                      Subject: any news?
                      To: Peter Carr                                                             Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            6/16/17   From: Chris Strom                                                          Personal Privacy
003936                                                               Personal Nature
                      Subject: Quick question
                      To: Matt Apuzzo                                                            Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            6/14/17   From: Peter Carr                                                           Personal Privacy
003999                                                               Personal Nature
                      Subject: Can you call
                      To: Peter Nicholas                                                         Exemption 6:       1 (partial)
20181087-             From: SpecialCounselPress             Activities and Details of a Purely   Personal Privacy
            7/20/17
004020                Subject: Query from the Wall Street            Personal Nature
                      Journal
                      To: Kelly Cohen                                                            Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/21/17   From: SpecialCounselPress                                                  Personal Privacy
004021                                                               Personal Nature
                      Subject: Confirm CNN story
                      To: Rowan Scarborough                                                      Exemption 6:       1 (partial)
20181087-             From: SpecialCounselPress             Activities and Details of a Purely   Personal Privacy
            7/26/17
004027                Subject: Washington Times to Peter             Personal Nature
                      Carr
                      To: Kelly Cohen                                                            Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            7/27/17   From: SpecialCounselPress                                                  Personal Privacy
004030                                                               Personal Nature
                      Subject: update
                      To: SpecialCounselPress                                                    Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            8/3/17    From: Geneva Sands                                                         Personal Privacy
004064                                                               Personal Nature
                      Subject: ABC News - question
                      To: Jonathan Easley                                                        Exemption 6:       1 (partial)
20181087-                                                   Activities and Details of a Purely
            8/3/17    From: SpecialCounselPress                                                  Personal Privacy
004069                                                               Personal Nature
                      Subject: WJS report
                             Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 72 of 80

                              To: Nick Tschida                                                          Exemption 6:            1 (partial)
 20181087-                    From: SpecialCounselPress            Activities and Details of a Purely   Personal Privacy
                    8/3/17
 004070                       Subject: Federal Yellow Book                  Personal Nature
                              Information Request
                              To: PAC                                Information Concerning Prior       Exemption 6:            1 (partial)
 20181087-
                   9/26/17    From: ZNA                            (pre-SCO) Contacts Between DOJ       Personal Privacy
 004153
                              Subject: outreach from reporters           Officials and Reporters
                              To: SpecialCounselPress                                                   Exemption 6:            1 (partial)
 20181087-                                                         Activities and Details of a Purely
                  11/10/17    From: Josh Gerstein                                                       Personal Privacy
 004666                                                                     Personal Nature
                              Subject: Sorry I missed your call
                              To: SpecialCounselPress                                                   Exemption 6:            1 (partial)
 20181087-                                                         Activities and Details of a Purely
                  12/10/17    From: John Loftus                                                         Personal Privacy
 005479                                                                     Personal Nature
                              Subject: Media request
                              To: [b(6)]                             Information Concerning Prior       Exemption 6:            1 (partial)
 20181087-
                   12/6/17    From: [b(6)]                         (pre-SCO) Contacts Between DOJ       Personal Privacy
 005620
                              Subject: Press Contact                     Officials and Reporters


   C. DOJ Office of Information Policy, Records Released-in-Part, Pursuant to Exemptions 6 and 7(C)
   Bates
                  Date         Record Sender/Recipient/Subject         Description of Withheld Material          Exemption(s)       Pages
  Numbers
                 7/11/17      To: PAC                              Information Provided by a Member of the
 20181087-                                                                                                        Exemptions
                              From: [b(6), b(7)(C)]                News Media that Sender Believed Could be                       1 (partial)
  000731                                                                                                          6, and 7(C)
                              Subject: Fake news investigation          Helpful to SCO's Investigation


   D. DOJ Office of Information Policy, Records Released-in-Part, Third Party Contact Information – Exemption 6 Withholdings:
                                                   September 4, 2018 Production
20181087-000001; 20181087-000002; 20181087-000006; 20181087-000007; 20181087-000068; 20181087-000072; 20181087-000078; 20181087-
000079; 20181087-000080; 20181087-000082; 20181087-000083; 20181087-000085; 20181087-000086; 20181087-000089; 20181087-000090;
20181087-000095; 20181087-000106; 20181087-000108; 20181087-000109; 20181087-000113; 20181087-000115; 20181087-000116; 20181087-
000120; 20181087-000122; 20181087-000125; 20181087-000127; 20181087-000144; 20181087-000149; 20181087-000155; 20181087-000156;
20181087-000163; 20181087-000167; 20181087-000168; 20181087-000169; 20181087-000174; 20181087-000182; 20181087-000196; 20181087-
000198; 20181087-000199; 20181087-000204; 20181087-000207; 20181087-000225; 20181087-000229; 20181087-000230; 20181087-000231;
20181087-000232; 20181087-000233; 20181087-000234; 20181087-000236; 20181087-000241; 20181087-000243; 20181087-000263; 20181087-
000287; 20181087-000302; 20181087-000306; 20181087-000315; 20181087-000324; 20181087-000329; 20181087-000334; 20181087-000337;
                            Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 73 of 80

20181087-000339; 20181087-000340; 20181087-000344; 20181087-000345; 20181087-000346; 20181087-000352; 20181087-000353; 20181087-
000355; 20181087-000364; 20181087-000367; 20181087-000368; 20181087-000369; 20181087-000370; 20181087-000372; 20181087-000374;
20181087-000376; 20181087-000378; 20181087-000379; 20181087-000382; 20181087-000384; 20181087-000389; 20181087-000393; 20181087-
000394; 20181087-000396; 20181087-000401; 20181087-000403; 20181087-000405; 20181087-000410; 20181087-000414; 20181087-000415;
20181087-000416; 20181087-000417; 20181087-000418; 20181087-000419; 20181087-000420; 20181087-000421; 20181087-000422; 20181087-
000423; 20181087-000424; 20181087-000425; 20181087-000427; 20181087-000428; 20181087-000430; 20181087-000441; 20181087-000442;
20181087-000443; 20181087-000446; 20181087-000447; 20181087-000450; 20181087-000453; 20181087-000454; 20181087-000455; 20181087-
000457; 20181087-000458; 20181087-000497; 20181087-000499; 20181087-000502; 20181087-000676; 20181087-000677; 20181087-000681;
20181087-000684; 20181087-000686; 20181087-000688; 20181087-000689; 20181087-000690; 20181087-000691; 20181087-000692; 20181087-
000698; 20181087-000699; 20181087-000701; 20181087-000705; 20181087-000706; 20181087-000708; 20181087-000710; 20181087-000715;
20181087-000716; 20181087-000717; 20181087-000720; 20181087-000721; 20181087-000723; 20181087-000725; 20181087-000727; 20181087-
000730; 20181087-000733; 20181087-000735; 20181087-000736; 20181087-000737; 20181087-000739; 20181087-000740; 20181087-000744;
20181087-000745; 20181087-000746; 20181087-000749; 20181087-000752; 20181087-000753; 20181087-000754; 20181087-000756; 20181087-
000758; 20181087-000760; 20181087-000763; 20181087-000766; 20181087-000767; 20181087-000772; 20181087-000775; 20181087-000776;
20181087-000779; 20181087-000783; 20181087-000784; 20181087-000785; 20181087-000787; 20181087-000791; 20181087-000792; 20181087-
000793; 20181087-000794; 20181087-000796; 20181087-000797; 20181087-000798; 20181087-000799; 20181087-000800; 20181087-000801;
20181087-000802; 20181087-000803; 20181087-000804; 20181087-000807; 20181087-000809; 20181087-000810; 20181087-000815; 20181087-
000817; 20181087-000820; 20181087-000821; 20181087-000822; 20181087-000823; 20181087-000829; 20181087-000840; 20181087-000841;
20181087-000842; 20181087-000845; 20181087-000858; 20181087-000859; 20181087-000862; 20181087-000865; 20181087-000867; 20181087-
000871; 20181087-000878; 20181087-000880; 20181087-000883; 20181087-000902; 20181087-000905; 20181087-000907; 20181087-000909;
20181087-000910; 20181087-000913; 20181087-000914; 20181087-000915; 20181087-000917; 20181087-000918; 20181087-000919; 20181087-
000920; 20181087-000922; 20181087-000923; 20181087-000924; 20181087-000925; 20181087-000932; 20181087-000934; 20181087-000935;
20181087-000939; 20181087-000941; 20181087-000942; 20181087-000944; 20181087-000945; 20181087-000951; 20181087-000954; 20181087-
000955; 20181087-000965; 20181087-000973; 20181087-000977; 20181087-000978; 20181087-000979; 20181087-000985; 20181087-000987;
20181087-000988; 20181087-000989; 20181087-000990; 20181087-000991; 20181087-000996; 20181087-001000; 20181087-001001; 20181087-
001003; 20181087-001005; 20181087-001008; 20181087-001016; 20181087-001017; 20181087-001023; 20181087-001024; 20181087-001026;
20181087-001027; 20181087-001031; 20181087-001036; 20181087-001037; 20181087-001038; 20181087-001041; 20181087-001042; 20181087-
001045; 20181087-001047; 20181087-001048; 20181087-001055; 20181087-001062; 20181087-001065; 20181087-001066; 20181087-001072;
20181087-001073; 20181087-001074; 20181087-001076; 20181087-001077; 20181087-001080; 20181087-001081; 20181087-001082; 20181087-
001083; 20181087-001084; 20181087-001088; 20181087-001089; 20181087-001091; 20181087-001101; 20181087-001102; 20181087-001103;
20181087-001114; 20181087-001118; 20181087-001119; 20181087-001122; 20181087-001127; 20181087-001129; 20181087-001134; 20181087-
001135; 20181087-001144; 20181087-001154; 20181087-001155; 20181087-001159; 20181087-001162; 20181087-001163; 20181087-001166;
20181087-001170; 20181087-001171; 20181087-001172; 20181087-001184; 20181087-001185; 20181087-001186; 20181087-001189; 20181087-
001190; 20181087-001192; 20181087-001193; 20181087-001196; 20181087-001198; 20181087-001200; 20181087-001201; 20181087-001223;
20181087-001224; 20181087-001229; 20181087-001230; 20181087-001231; 20181087-001232; 20181087-001233; 20181087-001243; 20181087-
001244; 20181087-001245; 20181087-001246; 20181087-001247; 20181087-001250; 20181087-001251; 20181087-001252; 20181087-001253;
                            Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 74 of 80

20181087-001254; 20181087-001256; 20181087-001257; 20181087-001258; 20181087-001259; 20181087-001260; 20181087-001271; 20181087-
001272; 20181087-001274; 20181087-001275; 20181087-001278; 20181087-001286; 20181087-001288; 20181087-001300; 20181087-001301;
20181087-001303; 20181087-001304; 20181087-001306; 20181087-001310; 20181087-001317; 20181087-001330; 20181087-001335; 20181087-
001340; 20181087-001344; 20181087-001356; 20181087-001380; 20181087-001383; 20181087-001386; 20181087-001389; 20181087-001390;
20181087-001391; 20181087-001397; 20181087-001398; 20181087-001399; 20181087-001400; 20181087-001413; 20181087-001420; 20181087-
001421; 20181087-001428; 20181087-001431; 20181087-001432; 20181087-001433; 20181087-001435; 20181087-001436; 20181087-001459;
20181087-001463; 20181087-001464; 20181087-001465; 20181087-001467; 20181087-001469; 20181087-001470; 20181087-001471; 20181087-
001472; 20181087-001474; 20181087-001481; 20181087-001496; 20181087-001497; 20181087-001498; 20181087-001499; 20181087-001500;
20181087-001501; 20181087-001506; 20181087-001508; 20181087-001512; 20181087-001514; 20181087-001542; 20181087-001554; 20181087-
001558; 20181087-001559; 20181087-001560; 20181087-001569; 20181087-001579; 20181087-001580; 20181087-001581; 20181087-001584;
20181087-001585; 20181087-001586; 20181087-001588; 20181087-001591; 20181087-001593; 20181087-001599; 20181087-001600; 20181087-
001607; 20181087-001608; 20181087-001610; 20181087-001611; 20181087-001626; 20181087-001629; 20181087-001633; 20181087-001634;
20181087-001636; 20181087-001638; 20181087-001639; 20181087-001640; 20181087-001641; 20181087-001651; 20181087-001665; 20181087-
001669; 20181087-001670; 20181087-001671; 20181087-001672; 20181087-001674; 20181087-001677; 20181087-001680; 20181087-001681;
20181087-001684; 20181087-001685; 20181087-001716; 20181087-001717; 20181087-001718; 20181087-001719; 20181087-001720; 20181087-
001722; 20181087-001723; 20181087-001724; 20181087-001725; 20181087-001730; 20181087-001734; 20181087-001735; 20181087-001736;
20181087-001740; 20181087-001742; 20181087-001749; 20181087-001750; 20181087-001752; 20181087-001753; 20181087-001754; 20181087-
001755; 20181087-001758; 20181087-001763; 20181087-001764; 20181087-001769; 20181087-001779; 20181087-001783; 20181087-001784;
20181087-001785; 20181087-001786; 20181087-001787; 20181087-001791; 20181087-001792; 20181087-001793; 20181087-001794; 20181087-
001796; 20181087-001798; 20181087-001802; 20181087-001804; 20181087-001805; 20181087-001806; 20181087-001814; 20181087-001818;
20181087-001819; 20181087-001821; 20181087-001823; 20181087-001824; 20181087-001826; 20181087-001827; 20181087-001828; 20181087-
001842; 20181087-001844; 20181087-001849; 20181087-001851; 20181087-001852; 20181087-001853; 20181087-001854; 20181087-001857;
20181087-001858; 20181087-001859; 20181087-001861; 20181087-001865; 20181087-001876; 20181087-001877; 20181087-001887; 20181087-
001889; 20181087-001890; 20181087-001903; 20181087-001905; 20181087-001906; 20181087-001907; 20181087-001909; 20181087-001910;
20181087-001911; 20181087-001914; 20181087-001925; 20181087-001926; 20181087-001929; 20181087-001930; 20181087-001931; 20181087-
001940; 20181087-001950; 20181087-001951; 20181087-001958; 20181087-001964; 20181087-001966; 20181087-001968; 20181087-001969;
20181087-001972; 20181087-001974; 20181087-001976; 20181087-001983; 20181087-001985; 20181087-001988; 20181087-001990; 20181087-
001991; 20181087-001994; 20181087-001995; 20181087-001998; 20181087-001999; 20181087-002000; 20181087-002001; 20181087-002004;
20181087-002009; 20181087-002010; 20181087-002011; 20181087-002012; 20181087-002017; 20181087-002019; 20181087-002020; 20181087-
002021; 20181087-002022; 20181087-002023; 20181087-002025; 20181087-002031; 20181087-002032; 20181087-002034; 20181087-002035;
20181087-002037; 20181087-002041; 20181087-002042; 20181087-002045; 20181087-002047; 20181087-002050; 20181087-002052; 20181087-
002053; 20181087-002054; 20181087-002055; 20181087-002056; 20181087-002057; 20181087-002060; 20181087-002061; 20181087-002067;
20181087-002071; 20181087-002072; 20181087-002074; 20181087-002075; 20181087-002076; 20181087-002078; 20181087-002080; 20181087-
002081; 20181087-002082; 20181087-002084; 20181087-002085; 20181087-002087; 20181087-002091; 20181087-002095; 20181087-002096;
20181087-002099; 20181087-002100; 20181087-002102; 20181087-002106; 20181087-002107; 20181087-002108; 20181087-002109; 20181087-
002110; 20181087-002112; 20181087-002115; 20181087-002116; 20181087-002119; 20181087-002120; 20181087-002124; 20181087-002128;
                            Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 75 of 80

20181087-002145; 20181087-002146; 20181087-002148; 20181087-002151; 20181087-002158; 20181087-002159; 20181087-002160; 20181087-
002161; 20181087-002162; 20181087-002166; 20181087-002167; 20181087-002168; 20181087-002173; 20181087-002175; 20181087-002176;
20181087-002177; 20181087-002178; 20181087-002179; 20181087-002180; 20181087-002186; 20181087-002192; 20181087-002197; 20181087-
002199; 20181087-002201; 20181087-002216; 20181087-002217; 20181087-002221; 20181087-002222; 20181087-002223; 20181087-002283;
20181087-002286; 20181087-002287; 20181087-002290; 20181087-002292; 20181087-002293; 20181087-002294; 20181087-002296; 20181087-
002297; 20181087-002298; 20181087-002300; 20181087-002301; 20181087-002303; 20181087-002304; 20181087-002306; 20181087-002307;
20181087-002310; 20181087-002311; 20181087-002312; 20181087-002314; 20181087-002315; 20181087-002319; 20181087-002321; 20181087-
002329; 20181087-002334; 20181087-002335; 20181087-002339; 20181087-002341; 20181087-002352; 20181087-002353; 20181087-002354;
20181087-002355; 20181087-002359; 20181087-002364; 20181087-002373; 20181087-002375; 20181087-002377; 20181087-002410; 20181087-
002411; 20181087-002414; 20181087-002415; 20181087-002416; 20181087-002417; 20181087-002418; 20181087-002419; 20181087-002420;
20181087-002424; 20181087-002427; 20181087-002428; 20181087-002429; 20181087-002438; 20181087-002443; 20181087-002446; 20181087-
002447; 20181087-002448; 20181087-002451; 20181087-002456; 20181087-002459; 20181087-002460; 20181087-002461; 20181087-002462;
20181087-002464; 20181087-002468; 20181087-002469; 20181087-002475; 20181087-002476; 20181087-002478; 20181087-002481; 20181087-
002483; 20181087-002486; 20181087-002489; 20181087-002492; 20181087-002493; 20181087-002495; 20181087-002498; 20181087-002501;
20181087-002502; 20181087-002503; 20181087-002504; 20181087-002505; 20181087-002508; 20181087-002510; 20181087-002519; 20181087-
002523; 20181087-002524; 20181087-002525; 20181087-002526; 20181087-002527; 20181087-002529; 20181087-002531; 20181087-002540;
20181087-002542; 20181087-002544; 20181087-002546; 20181087-002548; 20181087-002552; 20181087-002558; 20181087-002560; 20181087-
002561; 20181087-002563; 20181087-002564; 20181087-002565; 20181087-002569; 20181087-002571; 20181087-002572; 20181087-002575;
20181087-002576; 20181087-002577; 20181087-002578; 20181087-002579; 20181087-002580; 20181087-002581; 20181087-002584; 20181087-
002592; 20181087-002593; 20181087-002602; 20181087-002610; 20181087-002611; 20181087-002612; 20181087-002613; 20181087-002614;
20181087-002615; 20181087-002616; 20181087-002619; 20181087-002620; 20181087-002621; 20181087-002629; 20181087-002635; 20181087-
002639; 20181087-002644; 20181087-002646; 20181087-002658; 20181087-002659; 20181087-002668; 20181087-002670; 20181087-002671;
20181087-002672; 20181087-002676; 0181087-002677; 20181087-002680; 20181087-002683; 20181087-002684; 20181087-002688; 20181087-
002689; 20181087-002691; 20181087-002693; 20181087-002694; 20181087-002696; 20181087-002697; 20181087-002699; 20181087-002702;
20181087-002704; 20181087-002705; 20181087-002706; 20181087-002707; 20181087-002710; 20181087-002711; 20181087-002712; 20181087-
002715; 20181087-002723; 20181087-002726; 20181087-002728; 20181087-002732; 20181087-002733; 20181087-002738; 20181087-002739;
20181087-002742; 20181087-002744; 20181087-002746; 20181087-002747; 20181087-002749; 20181087-002750; 20181087-002752; 20181087-
002753; 20181087-002755; 20181087-002764; 20181087-002767; 20181087-002772; 20181087-002774; 20181087-002777; 20181087-002778;
20181087-002780; 20181087-002781; 20181087-002783; 20181087-002785; 20181087-002787; 20181087-002788; 20181087-002789; 20181087-
002790; 20181087-002792; 20181087-002793; 20181087-002796; 20181087-002797; 20181087-002798; 20181087-002799; 20181087-002800;
20181087-002801; 20181087-002802; 20181087-002803; 20181087-002805; 20181087-002807; 20181087-002808; 20181087-002809; 20181087-
002815; 20181087-002816; 20181087-002817; 20181087-002818; 20181087-002820; 20181087-002822; 20181087-002823; 20181087-002825;
20181087-002827; 20181087-002829; 20181087-002833; 20181087-002834; 20181087-002846; 20181087-002847; 20181087-002850; 20181087-
002852; 20181087-002855; 20181087-002860; 20181087-002862; 20181087-002863; 20181087-002864; 20181087-002866; 20181087-002868;
20181087-002869; 20181087-002870; 20181087-002871; 20181087-002872; 20181087-002874; 20181087-002876; 20181087-002880; 20181087-
002881; 20181087-002882; 20181087-002883; 20181087-002886; 20181087-002887; 20181087-002888; 20181087-002889; 20181087-002894;
                            Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 76 of 80

20181087-002901; 20181087-002902; 20181087-002903; 20181087-002904; 20181087-002912; 20181087-002913; 20181087-002914; 20181087-
002915; 20181087-002916; 20181087-002917; 20181087-002922; 20181087-002923; 20181087-002924; 20181087-002925; 20181087-002926;
20181087-002928; 20181087-002946; 20181087-002948; 20181087-002950; 20181087-002951; 20181087-002952; 20181087-002953; 20181087-
002998; 20181087-002999; 20181087-003001; 20181087-003002; 20181087-003004; 20181087-003005; 20181087-003006; 20181087-003007;
20181087-003008; 20181087-003012; 20181087-003013; 20181087-003014; 20181087-003017; 20181087-003018; 20181087-003019; 20181087-
003025; 20181087-003069; 20181087-003071; 20181087-003073; 20181087-003074; 20181087-003076; 20181087-003077; 20181087-003079;
20181087-003081; 20181087-003082; 20181087-003084; 20181087-003086; 20181087-003087; 20181087-003088; 20181087-003089; 20181087-
003092; 20181087-003093; 20181087-003095; 20181087-003096; 20181087-003097; 20181087-003102; 20181087-003104; 20181087-003105;
20181087-003106; 20181087-003115; 20181087-003116; 20181087-003119; 20181087-003120; 20181087-003121; 20181087-003122; 20181087-
003123; 20181087-003124; 20181087-003126; 20181087-003127; 20181087-003128; 20181087-003129; 20181087-003130; 20181087-003131;
20181087-003132; 20181087-003133; 20181087-003147; 20181087-003148; 20181087-003149; 20181087-003150;; 20181087-003155; 20181087-
003188; 20181087-003213; 20181087-003216; 20181087-003218; 20181087-003220; 20181087-003249; 20181087-003256; 20181087-003261;
20181087-003262; 20181087-003263; 20181087-003264; 20181087-003272; 20181087-003273; 20181087-003281; 20181087-003294; 20181087-
003295; 20181087-003297; 20181087-003323; 20181087-003344; 20181087-003345; 20181087-003351; 20181087-003354; 20181087-003355;
20181087-003356; 20181087-003358; 20181087-003359; 20181087-003361; 20181087-003363; 20181087-003366; 20181087-003368; 20181087-
003370; 20181087-003373; 20181087-003375; 20181087-003376; 20181087-003378; 20181087-003380; 20181087-003384; 20181087-003388;
20181087-003390; 20181087-003393; 20181087-003396; 20181087-003397; 20181087-003401; 20181087-003403; 20181087-003405; 20181087-
003409; 20181087-003410; 20181087-003413; 20181087-003414; 20181087-003416; 20181087-003417; 20181087-003432; 20181087-003438

                                             November 1, 2018 Remediation Production
20181087-003446; 20181087-003447; 20181087-003448; 20181087-003452; 20181087-003454; 20181087-003455; 20181087-003457; 20181087-
003460; 20181087-003462; 20181087-003463; 20181087-003464; 20181087-003466; 20181087-003467; 20181087-003472; 20181087-003476;
20181087-003477; 20181087-003478; 20181087-003479; 20181087-003480; 20181087-003483; 20181087-003486; 20181087-003487; 20181087-
003488; 20181087-003494; 20181087-003534; 20181087-003535; 20181087-003538; 20181087-003542; 20181087-003551; 20181087-003552;
20181087-003554; 20181087-003555; 20181087-003556; 20181087-003558; 20181087-003559; 20181087-003560; 20181087-003563; 20181087-
003567; 20181087-003571; 20181087-003573; 20181087-003585; 20181087-003586; 20181087-003587; 20181087-003588; 20181087-003589;
20181087-003591; 20181087-003597; 20181087-003598; 20181087-003601; 20181087-003608; 20181087-003609; 20181087-003611; 20181087-
003614; 20181087-003615; 20181087-003616; 20181087-003617; 20181087-003618; 20181087-003619; 20181087-003620; 20181087-003621;
20181087-003632; 20181087-003633; 20181087-003637; 20181087-003638; 20181087-003639; 20181087-003641; 20181087-003645; 20181087-
003649; 20181087-003650; 20181087-003656; 20181087-003675; 20181087-003680; 20181087-003681; 20181087-003685; 20181087-003693;
20181087-003697; 20181087-003701; 20181087-003709; 20181087-003714; 20181087-003716; 20181087-003717; 20181087-003718; 20181087-
003719; 20181087-003721; 20181087-003726; 20181087-003728; 20181087-003744; 20181087-003748; 20181087-003750; 20181087-003751;
20181087-003756; 20181087-003759; 20181087-003760; 20181087-003761; 20181087-003763; 20181087-003772; 20181087-003773; 20181087-
003775; 20181087-003776; 20181087-003778; 20181087-003779; 20181087-003780; 20181087-003782; 20181087-003784; 20181087-003786;
20181087-003798; 20181087-003799; 20181087-003805; 20181087-003806; 20181087-003819; 20181087-003821; 20181087-003833; 20181087-
003835; 20181087-003836; 20181087-003838; 20181087-003839; 20181087-003840; 20181087-003843; 20181087-003846; 20181087-003850;
                            Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 77 of 80

20181087-003852; 20181087-003854; 20181087-003855; 20181087-003857; 20181087-003860; 20181087-003861; 20181087-003862; 20181087-
003863; 20181087-003889; 20181087-003891; 20181087-003892; 20181087-003911; 20181087-003913; 20181087-003915; 20181087-003918;
20181087-003920; 20181087-003935; 20181087-003939; 20181087-003940; 20181087-003944; 20181087-003945; 20181087-003946; 20181087-
003947; 20181087-003948; 20181087-003950; 20181087-003951; 20181087-003953; 20181087-003954; 20181087-003956; 20181087-003957;
20181087-003958; 20181087-003964; 20181087-003966; 20181087-003967; 20181087-003971; 20181087-003972; 20181087-003974; 20181087-
003977; 20181087-003985; 20181087-003986; 20181087-003988; 20181087-003993; 20181087-003994; 20181087-003995; 20181087-003998;
20181087-003999; 20181087-004000; 20181087-004001; 20181087-004002; 20181087-004004; 20181087-004005; 20181087-004008; 20181087-
004018; 20181087-004021; 20181087-004025; 20181087-004026; 20181087-004027; 20181087-004028; 20181087-004029; 20181087-004030;
20181087-004031; 20181087-004032; 20181087-004033; 20181087-004034; 20181087-004039; 20181087-004045; 20181087-004046; 20181087-
004047; 20181087-004048; 20181087-004049; 20181087-004050; 20181087-004054; 20181087-004056; 20181087-004057; 20181087-004058;
20181087-004061; 20181087-004064; 20181087-004065; 20181087-004066; 20181087-004069; 20181087-004072; 20181087-004075; 20181087-
004076; 20181087-004077; 20181087-004080; 0181087-004081; 20181087-004083; 20181087-004084; 20181087-004087; 20181087-004090;
20181087-004091; 20181087-004092; 20181087-004095; 20181087-004096; 20181087-004099; 20181087-004101; 20181087-004102; 20181087-
004109; 20181087-004113; 20181087-004114; 20181087-004118; 20181087-004119; 20181087-004125; 20181087-004126; 20181087-004128;
20181087-004129; 20181087-004130; 20181087-004133; 20181087-004134; 20181087-004135; 20181087-004138; 20181087-004139; 20181087-
004140; 20181087-004142; 20181087-004143; 20181087-004145; 20181087-004150; 20181087-004151; 20181087-004154; 20181087-004157;
20181087-004173; 20181087-004177; 20181087-004179; 20181087-004190; 20181087-004192; 20181087-004208; 20181087-004209; 20181087-
004213; 20181087-004226; 20181087-004227; 20181087-004228; 20181087-004231; 20181087-004232; 20181087-004233; 20181087-004234;
20181087-004236; 20181087-004237; 20181087-004238; 20181087-004241; 20181087-004245; 20181087-004258; 20181087-004262; 20181087-
004264; 20181087-004268; 20181087-004269; 20181087-004275; 20181087-004280; 20181087-004283; 20181087-004284; 20181087-004285;
20181087-004286; 20181087-004288; 20181087-004289; 20181087-004293; 20181087-004294; 20181087-004296; 20181087-004297; 20181087-
004298; 20181087-004301; 20181087-004303; 20181087-004304; 20181087-004307; 20181087-004308; 20181087-004309; 20181087-004318;
20181087-004321; 20181087-004322; 20181087-004325; 20181087-004328; 20181087-004329; 20181087-004330; 20181087-004332; 20181087-
004345; 20181087-004348; 20181087-004352; 20181087-004353; 20181087-004354; 20181087-004355; 20181087-004357; 20181087-004358;
20181087-004362; 20181087-004364; 0181087-004403; 20181087-004404; 20181087-004406; 20181087-004423; 20181087-004424; 20181087-
004427; 20181087-004428; 20181087-004429; 20181087-004431; 20181087-004439; 20181087-004440; 20181087-004441; 20181087-004442;
20181087-004443; 20181087-004462; 20181087-004464; 20181087-004466; 20181087-004469; 20181087-004470; 20181087-004479; 20181087-
004488; 20181087-004490; 20181087-004491; 20181087-004492; 20181087-004493; 20181087-004513; 20181087-004514; 20181087-004515;
20181087-004516; 20181087-004537; 20181087-004544; 20181087-004553; 20181087-004555; 20181087-004561; 20181087-004562; 20181087-
004565; 20181087-004571; 20181087-004577; 20181087-004609; 20181087-004650; 20181087-004651; 20181087-004652; 20181087-004654;
20181087-004655; 20181087-004666; 20181087-004669; 20181087-004676; 20181087-004690; 20181087-004694; 20181087-004695; 20181087-
004702; 20181087-004720; 20181087-004728; 20181087-004730; 20181087-004731; 20181087-004732; 20181087-004735; 20181087-004736;
20181087-004746; 20181087-004759; 20181087-004760; 20181087-004777; 20181087-004805; 20181087-004809; 20181087-004812; 20181087-
004814; 20181087-004816; 20181087-004817; 20181087-004832; 20181087-004843; 20181087-004844; 20181087-004852; 20181087-004883;
20181087-004884; 20181087-004896; 20181087-004897; 20181087-004898; 20181087-004899; 20181087-004900; 20181087-004901; 20181087-
004902; 20181087-004918; 20181087-004919; 20181087-004938; 20181087-004949; 20181087-004961; 20181087-004963; 20181087-004964;
                             Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 78 of 80

20181087-004973; 20181087-004974; 20181087-004975; 20181087-004978; 20181087-004987; 20181087-004993; 20181087-004995; 20181087-
004996; 20181087-005004; 20181087-005006; 20181087-005011; 20181087-005016; 20181087-005017; 20181087-005022; 20181087-005026;
20181087-005029; 20181087-005030; 20181087-005031; 20181087-005044; 20181087-005045; 20181087-005047; 20181087-005049; 20181087-
005052; 20181087-005064; 20181087-005066; 20181087-005067; 20181087-005068; 20181087-005070; 20181087-005071; 20181087-005072;
20181087-005075; 20181087-005076; 20181087-005077; 20181087-005079; 20181087-005080; 20181087-005081; 20181087-005087; 20181087-
005088; 20181087-005089; 20181087-005096; 20181087-005100; 20181087-005102; 20181087-005103; 20181087-005104; 20181087-005105;
20181087-005145; 20181087-005166; 20181087-005167; 20181087-005168; 20181087-005169; 20181087-005194; 20181087-005195; 20181087-
005197; 20181087-005198; 20181087-005199; 20181087-005201; 20181087-005205; 20181087-005206; 20181087-005207; 20181087-005211;
20181087-005212; 20181087-005214; 20181087-005215; 20181087-005217; 20181087-005218; 20181087-005220; 20181087-005221; 20181087-
005222; 20181087-005223; 20181087-005225; 20181087-005226; 20181087-005228; 20181087-005229; 20181087-005235; 20181087-005236;
20181087-005241; 20181087-005243; 20181087-005244; 20181087-005262; 20181087-005264; 20181087-005271; 20181087-005272; 20181087-
005292; 20181087-005293; 20181087-005294; 20181087-005300; 20181087-005301; 20181087-005309; 20181087-005327; 20181087-005361;
20181087-005362; 20181087-005375; 20181087-005380; 20181087-005385; 20181087-005398; 20181087-005407; 20181087-005424; 20181087-
005425; 20181087-005426; 20181087-005429; 20181087-005439; 20181087-005441; 20181087-005444; 20181087-005447; 20181087-005449;
20181087-005459; 20181087-005460; 20181087-005462; 20181087-005464; 20181087-005475; 20181087-005476; 20181087-005479; 20181087-
005480; 20181087-005481; 20181087-005482; 20181087-005522; 20181087-005523; 20181087-005556; 20181087-005557; 20181087-005558;
20181087-005559; 20181087-005560; 20181087-005571; 20181087-005573; 20181087-005622; 20181087-005644; 20181087-005649; 20181087-
005650; 20181087-005696; 20181087-005698; 20181087-005707; 20181087-005708; 20181087-005709; 20181087-005710; 20181087-005711;
20181087-005712; 20181087-005723; 20181087-005727; 20181087-005734; 20181087-005743; 20181087-005748; 20181087-005749; 20181087-
005758; 20181087-005759; 20181087-005760; 20181087-005761; 20181087-005762; 20181087-005763; 20181087-005764; 20181087-005765;
20181087-005766; 20181087-005767; 20181087-005774; 20181087-005775; 20181087-005776; 20181087-005777; 20181087-005783; 20181087-
005792; 20181087-005793; 20181087-005814; 20181087-005820; 20181087-005821; 20181087-005827; 20181087-005860; 20181087-005868


   E. DOJ Office of Information Policy, Records Released-in-Part, DOJ Employee Contact Information and Identities – Exemption 6
      Withholdings:
                                                   September 4, 2018 Production
20181087-000046; 20181087-000048—000049; 20181087-000053- 000054; 20181087-000057; 20181087-000062; 20181087-000065; 20181087-
000068; 20181087-000070; 20181087-000072; 20181087-000075; 20181087-000077; 20181087-000078; 20181087-000080; 20181087-000081;
20181087-000082; 20181087-000083; 20181087-000087; 20181087-000088; 20181087-000089; 20181087-000090; 20181087-000091; 20181087-
000093; 20181087-000094; 20181087-000097; 20181087-000098; 20181087-000099; 20181087-000100; 20181087-000106; 20181087-000107;
20181087-000108; 20181087-000109; 20181087-000110; 20181087-000111; 20181087-000112; 20181087-000113; 20181087-000114; 20181087-
000115; 20181087-000117; 20181087-000120; 20181087-000122; 20181087-000124; 20181087-000126; 20181087-000131; 20181087-000132;
20181087-000134; 20181087-000135; 20181087-000137; 20181087-000141; 20181087-000142; 20181087-000143; 20181087-000144; 20181087-
000147; 20181087-000148; 20181087-000150; 20181087-000158; 20181087-000159; 20181087-000161; 20181087-000164; 20181087-000165;
                            Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 79 of 80

20181087-000166; 20181087-000168; 20181087-000171; 20181087-000174; 20181087-000180; 20181087-000185; 20181087-000190; 20181087-
000191; 20181087-000193; 20181087-000194; 20181087-000195; 20181087-000200; 20181087-000201; 20181087-000203; 20181087-000205;
20181087-000208; 20181087-000216; 20181087-000219; 20181087-000221; 20181087-000223; 20181087-000224; 20181087-000229; 20181087-
000230; 20181087-000232; 20181087-000233; 20181087-000235; 20181087-000237; 20181087-000241; 20181087-000242; 20181087-000302;
20181087-000305; 20181087-000308; 20181087-000324; 20181087-000333; 20181087-000334; 20181087-000335; 20181087-000337; 20181087-
000340; 20181087-000343; 20181087-000348; 20181087-000371; 20181087-000372; 20181087-000681; 20181087-000697; 20181087-000792;
20181087-000807; 20181087-001019; 20181087-001049; 20181087-001078; 20181087-001219; 20181087-001221; 20181087-001249; 20181087-
001339; 20181087-001382; 20181087-001436; 20181087-001439; 20181087-001440; 20181087-001441; 20181087-001448; 20181087-001449;
20181087-001458; 20181087-001611; 20181087-001628; 20181087-001636; 20181087-001661; 20181087-001673; 20181087-001685; 20181087-
001686; 20181087-001742; 20181087-001748; 20181087-001784; 20181087-001785; 20181087-001800; 20181087-001813; 20181087-001864;
20181087-001901; 20181087-001902; 20181087-001956; 20181087-001967; 20181087-001980; 20181087-001993; 20181087-002315; 20181087-
002362; 20181087-002463; 20181087-002473; 20181087-002479; 20181087-002490; 20181087-002508; 20181087-002529; 20181087-002564;
20181087-002565; 20181087-002586; 20181087-002606; 20181087-002670; 20181087-002712; 20181087-003026; 20181087-003027; 20181087-
003028; 20181087-003032; 20181087-003034; 20181087-003038; 20181087-003041; 20181087-003042; 20181087-003043; 20181087-003052;
20181087-003053; 20181087-003054; 20181087-003056; 20181087-003057; 20181087-003063; 20181087-003065; 20181087-003092; 20181087-
003093; 20181087-003141; 20181087-003151; 20181087-003185

                                             November 1, 2018 Remediation Production:
20181087-003450; 20181087-003458; 20181087-003459; 20181087-003546; 20181087-003548; 20181087-003600; 20181087-003604; 20181087-
003607; 20181087-003612; 20181087-003614; 20181087-003625; 20181087-003628; 20181087-003629; 20181087-003640; 20181087-003649;
20181087-003650; 20181087-003652; 20181087-003655; 20181087-003660; 20181087-003661; 20181087-003662; 20181087-003663; 20181087-
003665; 20181087-003666; 20181087-003667; 20181087-003668; 20181087-003669; 20181087-003670; 20181087-003671; 20181087-003672;
20181087-003673; 20181087-003674; 20181087-003675; 20181087-003676; 20181087-003679; 20181087-003683; 20181087-003684; 20181087-
003686; 20181087-003687; 20181087-003688; 20181087-003694; 20181087-003696; 20181087-003702; 20181087-003707; 20181087-003708;
20181087-003711; 20181087-003712; 20181087-003719; 20181087-003720; 20181087-003721; 20181087-003722; 20181087-003724; 20181087-
003725; 20181087-003730; 20181087-003732; 20181087-003754; 20181087-003759; 20181087-003760; 20181087-003775; 20181087-003786;
20181087-003787; 20181087-003791; 20181087-003805; 20181087-003807; 20181087-003819; 20181087-003832; 20181087-003833; 20181087-
003840; 20181087-003842; 20181087-003861; 20181087-003869; 20181087-003906; 20181087-003907; 20181087-003921; 20181087-003925;
20181087-003941; 20181087-003966; 20181087-003967; 20181087-003968; 20181087-004004; 20181087-004011; 20181087-004022; 20181087-
004035; 20181087-004102; 20181087-004146; 20181087-004148; 20181087-004152; 20181087-004153; 20181087-004155; 20181087-004174;
20181087-004188; 20181087-004466; 20181087-004529; 20181087-004550; 20181087-004688; 20181087-004702; 20181087-004704; 20181087-
004728; 20181087-004809; 20181087-004936; 20181087-004951; 20181087-005079; 20181087-005199; 20181087-005323; 20181087-005328;
20181087-005445; 20181087-005573; 20181087-005620; 20181087-005650; 20181087-005814; 20181087-005827; 20181087-005828; 20181087-
005833
                             Case 1:18-cv-00088-EGS Document 36-3 Filed 04/08/19 Page 80 of 80

   F. DOJ Office of Information Policy, Non-Responsive Record Markings:
20181087-000077; 20181087-000157; 20181087-000163; 20181087-000220; 20181087-000246; 20181087-000248; 20181087-000250; 20181087-
000251; 20181087-000252; 20181087-000253; 20181087-000254; 20181087-000256; 20181087-000257; 20181087-000259; 20181087-000260;
20181087-000261; 20181087-000262; 20181087-000263; 20181087-000265; 20181087-000266; 20181087-000267; 20181087-000268; 20181087-
000270; 20181087-000271; 20181087-000272; 20181087-000273; 20181087-000274; 20181087-000275; 20181087-000276; 20181087-000279;
20181087-000281; 20181087-000283; 20181087-000284; 20181087-000285; 20181087-000286; 20181087-000288; 20181087-000291; 20181087-
000293; 20181087-000294; 20181087-000332; 20181087-003327; 20181087-003729;


   G. DOJ Office of Information Policy, Duplicative Record Markings:
20181087-003519; 20181087-003531; 20181087-003546; 20181087-003625; 20181087-003648
